                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,

                                                              No. CR11-3030-MWB
                Plaintiff,
vs.
                                                      SENTENCING OPINION AND
LORI NEWHOUSE,                                         STATEMENT OF REASONS
                                                    PURSUANT TO 18 U.S.C. § 3553(c)
                Defendant.
                               ___________________________

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       Does the grid and bear it scheme of the U.S. Sentencing Guideline Career
Offender recidivist enhancement, § 4B1.1, raise a specter of aperiodic, irrational, and




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arbitrary sentencing guideline ranges in some cases?1 This issue is squarely raised by
Lori Ann Newhouse, a low-level pill smurfer, “[a] person who busily goes from store
to store acquiring pseudoephedrine pills for a meth cook, usually in exchange for
finished product.”2 Not only is Newhouse a mere pill smurfer, she is truly a “one day”
Career Offender because her two prior drug predicate offenses arose out of a single
police raid of a Motel 6 room over a decade ago, on February 26, 2002, in Altoona,
Iowa, when Newhouse was just 22 years old. The police found Newhouse and three
others in the motel room. Newhouse was charged in state court and pled guilty to
possession with intent to deliver 3.29 grams of methamphetamine and 14.72 grams of
psilocybin mushrooms.      She was sentenced to probation on both charges, but on
different days, by Chief Judge Arthur Gamble of the Fifth Judicial District of Iowa.
For reasons unknown, but likely random, the local prosecutor filed the two charges on
separate days. Ironically, if the two charges had been filed in the same charging
document or the defense lawyer, the prosecutor, the judge or the court administer had


      1
        The current sentencing table (grid) contains 43 offense levels on a vertical axis
and 6 criminal history categories on a horizontal axis that intersect to form a sentencing
grid with 258 cells that each contain an advisory guideline sentencing range, except for
the 6 cells for offense level 43 that have a single sentence: life. U.S. SENTENCING
GUIDELINES MANUAL Ch. 5, Pt. A, Sentencing Table (2012).
      2
         Rob Bovett, Methamphetamine: Casting a Shadow Across Disciplines and
Jurisdictions, 82 N.D. L. REV. 1195, 1208 n.86 (2006). Pill smurfers’ role in
methamphetamine production was enhanced as a result of the Combat
Methamphetamine Epidemic Act of 2005, Pub. L. No. 109-177, § 711, 120 Stat. 192,
256-63 (2006), which requires, inter alia, all products containing pseudoephedrine be
placed behind a sales counter and retailers to maintain a logbook of pseudoephedrine
purchases. In order to obtain sufficient quantities of pseudoephedrine,
methamphetamine manufacturers have increasingly turned to pill smurfers to make
multiple purchases of products containing pseudoephedrine from multiple stores—a
process known in the methamphetamine trade as “smurfing.”

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scheduled the two sentencings for the same day—Newhouse would not be a Career
Offender.
      Because of Newhouse’s Career Offender status, her U.S. Sentencing Guideline
range was enhanced from 70-87 months to a staggering and mind-numbing 262 to 327
months. This breathes real life into the observation of the Seventh Circuit Court of
Appeals, a year before Newhouse pled to the state court drug charges, that: “The
consequences of being deemed a career offender for purposes of section 4B1.1 of the
U.S. Sentencing Guidelines are grave.” United States v. Hoults, 240 F.3d 647, 648
(7th Cir. 2001). Newhouse is just one of thousands of “low hanging fruit” — non-
violent drug addicts captured by the War on Drugs and filling federal prisons far
beyond their capacity.3 See United States v. Vasquez, No. 09-CR-259 (JG), 2010 WL


      3
        The Government Accounting Office (GAO), in September of 2012, submitted
A Report to Congressional Requesters titled Bureau of Prisons—Growing Inmate
Crowding Negatively Affects Inmates, Staff and Infrastructure. This report found that
the Federal Bureau of Prisons (BOP) population “has increased 400 percent since the
late 1980’s, and by about 50 percent since 2000.” U.S. GOV’T ACCOUNTABILITY
OFFICE, GAO-12-743, BUREAU OF PRISONS:               GROWING INMATE CROWDING
NEGATIVELY AFFECTS INMATES, STAFF AND INFRASTRUCTURE 1 (2012). The report
also found that federal prisons now exceed system wide capacity by 39% and
overcrowding is most severe, 55%, at the highest security level prisons. Id. at 55.
The Report found that 48% of the BOP inmates were serving sentences for drugs and
that the average drug sentence is now more than 250% longer than when the U.S.
Sentencing Commission drafted the U.S. Sentencing guidelines in 1987 to implement
the Sentencing Reform Act of 1984. Id. at 14, 48. “According to BOP, the increase in
sentence length is the primary reason for the growth in the federal inmate population
from 42,000 in 1987 to over 218,000 today. Drug offenses constitute the largest
component of admissions to BOP.” Id. at 48. In terms of the “low-hanging fruit” of
the War on Drugs, former United States District Court Judge for the Southern District
of New York, John S. Martin, wrote nearly a decade ago:

                   Our current sentencing scheme leads to inefficiency in
             the war against drugs. We have gotten to the draconian
                                          4

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        sentences which exist today because ever since I was an
        Assistant United States Attorney in the early 1960s, drug
        enforcement officials would tell Congress, “We can win the
        war on drugs if we increase drug sentences.” Time after
        time Congress would respond to that argument by increasing
        the penalties. However, these harsh penalties are applied
        without any thought about the level of involvement of the
        particular defendant in the narcotics distribution scheme.
        When you fail to distinguish between major and minor
        violators, you give the law enforcement community the
        ability to brag about their success in prosecuting narcotics
        violators. They can testify before Congress and say, “Look,
        there are 30,000 people who are in federal prison for
        sentences of over ten years because of their narcotics
        violations.” What is not said is that the incarceration of
        ninety-five percent of those individuals will have no
        meaningful impact on the amount of drugs distributed
        because those individuals are low level members of narcotics
        distribution organizations who can be immediately replaced
        upon arrest.
               It is very easy for drug enforcement officers to go out
        on the street and arrest addicts selling drugs. But you end up
        with somebody doing more than twenty years in jail who
        was immediately replaced by another addict willing to sell
        drugs to get some for himself. Drug agents can create
        impressive statistics by arresting low level drug dealers. It
        takes a much greater law enforcement effort to prosecute
        major violators who do not operate openly on the streets. If
        we simply limited the harsh penalties to major violators, we
        would be providing the Drug Enforcement Agency with an
        incentive to concentrate their efforts on major violators and
        we would have a way of measuring the success of law
        enforcement in the war on drugs.
               Let me conclude by summing up my views on
        mandatory minimum sentences. They are cruel, unfair, a
        waste of resources, and bad law enforcement policy. Other
        than that they are a great idea.
                                      5

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1257359, at *3 (E.D.N.Y. Mar. 30, 2010) (observing that in “the war on drugs”
“prosecutors can decide that street-level defendants like Vasquez—the low-hanging fruit
for law enforcement—must receive the harsh sentences that Congress intended for
kingpins and managers, no matter how many other factors weigh in favor of less severe
sentences.”); see also Susan Stuart, War As Metaphor And The Rule Of Law In Crisis:
The Lessons We Should Have Learned From the War On Drugs, 36 S. ILL. U. L.J. 1, 5
(2011) (pointing out that the war on drugs “has lasted longer than the reigns of the
Roman Emperors Caligula through Nero.”); Marc Mauer, The Sentencing Project, The
Changing Racial Dynamics of the War on Drugs 1 (2009) (reporting that there has been
an 1100% increase in the number of persons incarcerated on drug charges since 1980,
from about 40,000 people to 500,000 in 2009).4


                     I.       INTRODUCTION AND BACKGROUND
                A.        Indictment, Guilty Plea, And Sentencing Hearing
      On July 28, 2011, an Indictment was returned against Newhouse, charging her
with manufacturing or attempting to manufacture 5 grams or more of pure
methamphetamine, or a mixture or substance containing a detectable amount of
methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and
841(b)(1)(C).5 On April 26, 2012, Newhouse pled guilty before a U.S. magistrate judge



John S. Martin, Jr., Why Mandatory Minimums Make No Sense, 18 NOTRE DAME J.L.
ETHICS & PUB. POL’Y 311, 317 (2004).

      4
          Available at http://sentencingproject.org/doc/dp_ raceanddrugs.pdf.
      5
        Five co-defendants were also named in the Indictment: Tracy Allen Young,
Martin Roy Brobst, Sandra Kaye Young, Patrick Timothy McGuire, and Rex Allan
Silvey. All of the co-defendants, but not Newhouse, were also charged with conspiring
to manufacture and distribute 50 grams or more of methamphetamine, or to
                                             6

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to Count 2 of the Indictment. On that same day, I accepted Newhouse’s guilty plea. A
probation officer then prepared a presentence report (“PSR”). The PSR found that
Newhouse was a Career Offender because of her two prior predicate drug convictions.
Before sentencing, Newhouse filed a Motion for Variance and her Sentencing
Memorandum.      On September 19, 2012, after reviewing Newhouse’s Motion for
Variance and her Sentencing Memorandum, I continued the sentencing because of the
serious and complex issues raised, but not fully briefed, and requested the Federal
Public Defender to enter the case as amicus curie. They did and the parties were given
the opportunity to submit further briefing on the application of the Career Offender
guideline to Newhouse.       The Federal Public Defender filed an extensive and
illuminating amicus curie brief, including a comprehensive discussion of reasons for
disagreeing with the Career Offender guideline on policy grounds.6 The prosecution
filed a short brief offering no objection to a substantial downward variance based solely
on the facts of Newhouse’s prior predicate convictions.      However, the prosecution
urged me not to vary downward based on the 18 U.S.C. § 3553(a) factors and any
policy disagreements with the Career Offender guideline.
      At the sentencing hearing on January 29, 2013, the prosecution, Newhouse and
the amicus all presented documentary evidence. The prosecution also made motions for
downward departure based on substantial assistance under 18 U.S.C. § 3553(e) and
U.S.S.G. § 5K1.1. After extensive and lively oral arguments punctuated with many




manufacture 5 grams or more of pure methamphetamine, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), and 846.
      6
        The sentencing brief by the Federal Public Defender, James F. Whalen, was
superbly crafted and sets the gold standard for sentencing briefs by criminal defense
lawyers.

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questions by me, and Newhouse’s allocution, I sentenced Newhouse. This opinion
explains and amplifies the rationale for my sentence.


                           B.     Arguments Of The Parties
      1. Amicus curiae’s arguments
      The amicus argues that I have the authority to vary from the Career Offender
guideline based on policy disagreements with that guideline. The amicus next argues
that I should do so for the following policy reasons. First, the amicus contends that the
Career Offender guideline was not developed as a result of the Sentencing
Commission’s exercise of its characteristic institutional role.     Second, the amicus
contends that the Sentencing Commission has steadily expanded the scope of the Career
Offender guideline beyond Congress’s statutory directive, and that this expansion has
been undertaken without reliance upon, and contrary to, empirical data and national
experience. Finally, the amicus argues that the resulting guideline, as applied to low-
level participants in drug offenses, yields sentences that are greater than necessary to
achieve the goals of sentencing under 18 U.S.C. § 3553(a).
      2. Newhouse’s arguments
      Newhouse joined the amicus’s arguments.
      3. The prosecution’s arguments
      The prosecution asserts that Newhouse’s unique criminal history warrants a
significant downward variance.      Specifically, the prosecution acknowledges that,
because a single incident in 2002, resulted in Newhouse having two separately scored
controlled substances offense convictions, a substantial downward variance is
warranted. The prosecution recommends a downward variance from the bottom of
Newhouse’s advisory guideline range, 262 months, to at or about Newhouse’s
mandatory minimum sentence of 120 months. The prosecution, argues, in

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breathtakingly conclusory and cursory briefing, that a downward variance is not
warranted based on either Newhouse’s “personal/offense characteristics”, under 18
U.S.C. § 3553(a), or any policy disagreements with the Career Offender guideline.
The prosecution’s enlightened sentencing position, while welcomed for its bottom line,
is analytically odd because in supporting their variance position they fail to mention or
cite a single § 3553(a) factor.


                                  II.   LEGAL ANALYSIS
              A.     Sentencing Methodology: Computing The Guideline
                             Range, Departures, And Variances
       Following the Supreme Court’s decision in Gall, the Eighth Circuit Court of
Appeals has repeatedly stated the methodology for determining a defendant’s sentence
as follows:
              The district court should begin “by correctly calculating the
              applicable Guidelines range.” “[T]he Guidelines should be
              the starting point and the initial benchmark [,but] [t]he
              Guidelines are not the only consideration[.]” The district
              judge should allow “both parties an opportunity to argue for
              whatever sentence they deem appropriate,” and then should
              “consider all of the § 3553(a) factors to determine whether
              they support the sentence requested by a party.”


United States v. Hill, 552 F.3d 686, 691 (8th Cir. 2009) (quoting Gall v. United States,
552 U.S. 38, 49 (2007)) (internal citations omitted); United States v. Roberson, 517
F.3d 990, 993 (8th Cir. 2008); see also United States v. Feemster, 572 F.3d 455, 461-
62 (8th Cir. 2009) (en banc).
       The Supreme Court has recognized that a party’s argument for a sentence outside
the calculated guideline range may “take either of two forms.” Rita v. United States,
551 U.S. 338, 344 (2007). A party may “argue within the Guidelines’ framework, for

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a departure,” id. (emphasis in original), or a party may “argue that, independent of the
Guidelines, application of the factors set forth in 18 U.S.C. § 3553(a) warrants a
[different] sentence.” Id 7 The Eighth Circuit Court of Appeals has made clear that,
while “similar factors may justify either a variance or a traditional departure,” United
States v. Woods, 670 F.3d 883, 888 (8th Cir. 2012), district courts are not limited by
the guidelines’ departure policy framework when determining whether and by what
extent to vary, see United States v. Chase, 560 F.3d 828, 832 (8th Cir. 2009); United
States v. VandeBrake, 679 F.3d 1030, 1037 (8th Cir. 2012); see also United States v.
Villareal-Amarillas, 562 F.3d 892, 898 (8th Cir. 2009) (“The judge is cabined, but also
liberated, by the § 3553(a) factors.”).8
       As a matter of procedure, the Eighth Circuit Court of Appeals has instructed that
district courts should “continue to engage in the three-step process of first ascertaining
the applicable Guidelines range, then considering any permissible departures within the
Guidelines’ structure, and finally, deciding whether a non-Guidelines sentence would be
more appropriate under the circumstances pursuant to § 3553(a).” See United States v.
Washington, 515 F.3d 861, 866 (8th Cir. 2008).

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           As the Eighth Circuit Court of Appeals has explained:

       “‘Departure” is a term of art under the Guidelines and refers only
       to non-Guidelines sentences imposed under the framework set out
       in the Guidelines.” Irizarry v. United States, 553 U.S. 708 (2008).
       A variance, on the other hand, is a “non-Guidelines sentence[ ]
       based on the factors enumerated in 18 U.S.C. § 3553(a).” United
       States v. Solis-Bermudez, 501 F.3d 882, 884 (8th Cir. 2007).
United States v. Mireles, 617 F.3d 1009, 1012 n.2 (8th Cir. 2010).
       8
         See Irizarry, 553 U.S. at 714-15 (“[T]here is no longer a limit comparable to [a
departure] on the variances from Guidelines ranges that a district court may find
justified under the sentencing factors set forth in 18 U.S.C. § 3553(a).”).

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      Although “a court of appeals may apply a presumption of reasonableness when
conducting substantive review of a sentence within the advisory range, ‘the sentencing
court does not enjoy the benefit of a legal presumption that the Guidelines sentence
should apply.’” United States v. Henson, 550 F.3d 739, 740 (8th Cir. 2008) (quoting
Rita 551 U.S. at 351). The Supreme Court has emphasized this point, noting “[o]ur
cases do not allow a sentencing court to presume that a sentence within the applicable
Guidelines range is reasonable,” and that “[t]he Guidelines are not only not mandatory
on sentencing courts; they are also not to be presumed reasonable.” Nelson v. United
States, 129 S. Ct. 890, 892 (2009) (per curiam) (emphasis in the original).
      As the Eighth Circuit Court of Appeals has also explained, “[w]e may not
require “‘extraordinary’ circumstances to justify a sentence outside the Guidelines.”
Feemster, 572 F.3d at 462 (quoting Gall, 552 U.S. at 47). Instead, the district court
             must “make an individualized assessment based on the facts
             presented.” [Gall, 552 U.S. at 50.] If the court concludes
             that a sentence outside of the Guidelines range is warranted,
             then it must “consider the extent of the deviation and ensure
             that the justification is sufficiently compelling to support the
             degree of the variance.” Id. “[A] major departure should be
             supported by a more significant justification than a minor
             one.”      Id. After the district court determines the
             “appropriate sentence,” it must then “adequately explain the
             chosen sentence to allow for meaningful appellate review
             and to promote the perception of fair sentencing.” Id.
Feemster, 572 F.3d at 461.

      First, I will determine the advisory guideline range for Newhouse. Next, I will
determine whether any traditional (non-substantial assistance) departures, either upward
or downward, are warrented.. Third, I will consider whether to vary from the advisory
guideline range based on my independent obligation to apply the § 3553(a) factors,
including any policy disagreements with the Career Offender guideline. I may not rely

                                           11

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on the § 3553(a) sentencing factors to impose a sentence below the mandatory minimum
required by statute, even when the prosecution has filed and I grant a substantial
assistance motion under § 3553(e). See United States v. Madison, 585 F.3d 412, 413
(8th Cir. 2009). However, in cases like this one, where the guideline range exceeds the
mandatory minimum, I may first consider the § 3553(a) factors to reduce a defendant’s
sentence. Depending on the strength of the § 3553(a) factors, this may include down
to, but not below, the mandatory minimum. See United States v. Coyle, 506 F.3d 680,
683 (8th Cir. 2007). Then, if I grant the prosecution’s § 3553(e) motion, I may go
below the mandatory minimum but only by applying the U.S.S.G. factors contained in
§ 5K1.1. Finally, I will decide the prosecution’s motions for downward departure
based on Newhouse’s substantial assistance.


          B.     Step 1-Determination Of The Guideline Range
       In determining Newhouse’s advisory guideline range, I used the November 1,
2012, edition of the United States Sentencing Commission Guidelines Manual. See
United States v. Lozoya, 623 F.3d 624, 625 (8th Cir. 2010); see also VandeBrake, 679
F.3d at 1039 n.7. The guideline for a violation of 21 U.S.C. § 841(a)(1) is found in §
2D1.1 and the Drug Quantity Table in § 2D1.1(c)(6). The parties agree, and I find,
those sections set a base offense level of 28 because the offense involved at least 20, but
less than 35, grams of pure methamphetamine. The parties agree, and I find, that
Newhouse’s offense involved 20 grams of pure methamphetamine; thus, her base
offense level is 28.     I next examine the potential offense level adjustments and
enhancements. The parties agree, and I find, that Newhouse was a minor participant in
the offense and qualifies for a two point reduction, pursuant to U.S.S.G. § 3B1.2(b).
The parties further agree, and I find, that Newhouse qualifies for a three point
reduction for acceptance of responsibility, pursuant to U.S.S.G. §§ 3E1.1(a)-(b). If

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Newhouse did not qualify as a Career Offender, her adjusted offense level would be 23.
With a criminal history category IV and an offense level 23, her advisory guideline
range is 70 to 87 months. She is subject to a mandatory minimum sentence of 60
months, pursuant to 18 U.S.C. § 841(b)(1)(B).9 However, because the prosecution, in
its sole discretion, filed an information under 21 U.S.C. § 851 based on a prior
conviction for a “felony drug offense,” her mandatory minimum doubles from 60
months to 120 months, and her statutory maximum increases from 40 years to life
imprisonment. See 21 U.S.C. § 841(b)(1)(B); id. § 851(a)(1) (providing that a person
convicted under § 841 may be subject to increased punishment by reason of one or

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  Neither Newhouse nor the amicus have questioned application of the statutory five
year mandatory minimum sentence for more than 5 grams of methamphetamine which
then doubles for Newhouse because of the § 851 enhancement. Compared to
methamphetamine, marijuana, once stripped from the plant, takes 20,000 times greater
quantity (100,000 grams) to trigger a five-year mandatory minimum. Compared to
methamphetamine, powder cocaine takes 100 times greater quantity (500 grams) to
trigger a five-year mandatory minimum. Compared to methamphetamine, heroin takes
twenty times greater quantity (100 grams) to trigger a five-year mandatory minimum.
Compared to methamphetamine, crack, after the passage of the Fair Sentencing Act,
now takes nearly six times greater quantity (28 grams) to trigger a five-year mandatory
minimum. See 21 U.S.C. § 841. Are there any factual or rational bases to set the
methamphetamine quantity to trigger a five-year mandatory minimum so low in
comparison to these other drugs? In Yogi Berra’s words, this could be “déjà vu all
over again” with penalties for methamphetamine, as with crack, driven by hysteria
surrounding perceived problems that turned out to be largely illusory. See United
States v. Williams, 788 F. Supp. 2d 847, 859-61 (N.D. Iowa 2011) (observing that the
crack/powder cocaine disparity in the sentencing guidelines was based on Congress’s
unfounded fears about crack’s dangers). Indeed, the death of University of Maryland
basketball star Len Bias, which spurred Congress to pass the Anti-Drug Abuse Act of
1986, making sentences for crack cocaine crimes 100 times harsher than those for
powder cocaine, was mistakenly attributed to crack cocaine. Bias in fact died of an
overdose of powder cocaine. See LaJuana Davis, Rock, Powder, Sentencing—Making
Disparate Impact Relevant In Crack Cocaine Sentencing, 14 JOURNAL OF GENDER,
RACE AND JUSTICE 375, 381-83 & n.32 (2011).

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more prior convictions only if “the United States attorney files an information with the
court”); id. § 802(44) (defining “felony drug offense” as “an offense that is punishable
by imprisonment for more than one year under any law . . . that prohibits or restricts
conduct relating to narcotic drugs”).10
       The Career Offender guideline, set out in U.S.S.G. § 4B1.1, provides in
relevant part that:
              (a) A defendant is a career offender if (1) the defendant was
              at least eighteen years old at the time the defendant
              committed the instant offense of conviction; (2) the instant
              offense of conviction is a felony that is either a crime of
              violence or a controlled substance offense; and (3) the
              defendant has at least two prior felony convictions of either
              a crime of violence or a controlled substance offense.

             (b) . . . [I]f the offense level for a career offender from the
             table in this subsection is greater than the offense level
             otherwise applicable, the offense level from the table in this
             subsection shall apply. A career offender’s criminal history
             category in every case under this subsection shall be
             Category VI.

             Offense Statutory Maximum               Offense Level*
             (1)   Life                                          37
             (2)   25 years or more                              34
             (3)   20 years or more, but less than 25 years      32
             (4)   15 years or more, but less than 20 years      29

      10
         In fiscal year 2011, of the 4,546 methamphetamine defendants sentenced in
federal court, 81.1%, or 3,685, received mandatory minimum sentences, and 57.8%,
or 2,627, received a ten-year mandatory minimum sentence. U.S. Sentencing
Comm’n, 2011 Sourcebook of Federal Sentencing Statistics 112 tbl. 43. This is
substantially greater than any other drug type. Id. In fact, methamphetamine
defendants receive the ten-year mandatory minimum sentence at a rate more than 75%
higher than heroin defendants. Id. Thus, gram for gram, ounce for ounce, pound for
pound, and kilo for kilo, methamphetamine defendants receive much harsher sentences
than any other federal drug offender.

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              (5)   10 years or more, but less than 15 years        24
              (6)   5 years or more, but less than 10 years         17
              (7)   More than 1 year, but less than 5 years         12

              *If an adjustment from § 3E1.1 (Acceptance of
              Responsibility) applies, decrease the offense level by the
              number of levels corresponding to that adjustment.
U.S.S.G. § 4B1.1.     The Sentencing Commission has defined “controlled substance
offense” to include an offense under state law that is punishable by a term exceeding
one year. Id. § 4B1.2(b).
      The parties agree, and I find, that Newhouse is a Career Offender under §
4B1.1.     Newhouse is 33 years old; her current offense is a “controlled substance
offense,” and she has two prior “controlled substance offenses.”
      Newhouse’s Career Offender classification has a profound effect on her
guideline offense level.11 Pursuant to the § 4B1.1 table, Newhouse’s offense level leaps
from 26 to 37, an increase of 11 points.        If not for the information filed by the
prosecutor under § 851, thus raising the statutory maximum from 40 years to life, the
offense level would be 34.
      As previously noted, Newhouse qualifies for a three point reduction for
acceptance of responsibility, pursuant to U.S.S.G. §§ 3E1.1(a)-(b). Thus, her adjusted
offense level is 34. Application of the Career Offender guideline also requires that

      11
          In 2011, 2,257 defendants were sentenced as Career Offenders and 1,630 of
them were for drug offenses. U.S. Sentencing Comm’n, 2011 Sourcebook of Federal
Sentencing Statistics tbl. 22 (2011). Sentencing drug defendants as career offenders has
been a growing cottage industry almost tripling in fifteen years. In 1996, federal courts
sentenced only 949 defendants as career offenders and 616 of them were drug
offenders. U.S. Sentencing Comm’n, 1996 Sourcebook of Federal Sentencing Statistics,
tbl. 22 (1996); see also Sarah French Russell, Rethinking Recidivist Enhancements: The
Role of Prior Drug Convictions in Federal Sentencing, 43 U.C. DAVIS L. REV. 1135,
1173 (2010).

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Newhouse’s criminal history level be re-adjusted. Newhouse has seven criminal history
points, resulting in a criminal history category IV.      Section 4B1.1(b), however,
requires that “[a] career offender’s criminal history category in every case under this
subsection shall be Category VI.”       U.S.S.G. § 4B1.1(b).     Applying the Career
Offender enhancement dramatically increases Newhouse’s criminal history category
from IV to VI. Category VI is normally reserved for defendants with 13 or more
criminal history points. A total offense level 34 and a criminal history category VI
mandates an advisory guideline range for Newhouse of 262-327 months. Application
of the Career Offender guideline more than doubles the 120 month mandatory minimum
sentence required by 21 U.S.C. §§ 841(b)(1)(B) and 851, more than quadruples the 60-
month mandatory minimum sentence required under 21 U.S.C. § 841(b)(1)(B), and
more than triples her guideline range (without a mandatory minimum) of 70 to 87
months.


                 C.     Step 2-Determination Of Whether To Depart
      In the second step of the sentencing methodology, I determine whether any
traditional “departure” is appropriate, see United States v. Washington, 515 F.3d 861,
866 (8th Cir. 2008), that is, whether there are features of Newhouse’s case that
potentially take it outside the guidelines “heartland” and make it a special or unusual
case warranting a departure, see United States v. Chase, 451 F.3d 474, 482 (8th Cir.
2006); U.S.S.G. § 5K2.0; id. § 1A1.1, cmt. (n.4(b)). The prosecution has not sought
an upward departure, and Newhouse has not sought a downward departure.
      Although the Supreme Court has said that it is “not incumbent on the District
Court Judge to raise every conceivably relevant issue on his own initiative,” Gall, 552
U.S. at 54, I note that U.S.S.G. § 4A1.3(b), p.s., encourages a downward departure if
the defendant’s criminal history category “substantially over-represents the seriousness

                                          16

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of the defendant’s criminal history or the likelihood that the defendant will commit
further crimes.” But any departure granted thereunder would be limited in this case to
one criminal history category. See U.S.S.G. § 4A1.3(b)(3)(A). I further note that pre-
Booker, the courts of appeals affirmed traditional departures from the Career Offender
guideline, see United States v. Collins, 122 F.3d 1297, 1304 (10th Cir. 1997); United
States v. Reyes, 8 F.3d 1379, 1387 (9th Cir. 1993); United States v. Bowser, 941 F.2d
1019, 1026 (10th Cir. 1991), and that the reason for many such departures was that the
prior offenses were “minor or too remote in time to warrant consideration.” Michael
S. Gelacak, Ilene H. Nagel and Barry L. Johnson, Departures Under the Federal
Sentencing Guidelines: An Empirical and Jurisprudential Analysis, 81 MINN. L. REV.
299, 356-57 (1996).      Because the only departure motions before me are the
prosecution’s for substantial assistance, I will consider those motions after I consider
whether to vary from the advisory guideline range. See Coyle, 506 F.3d at 683.


                 D.    Troublesome Aspects Of The Career Offender
                      Guideline—Potential For A Policy Disagreement
      1.     Background on policy disagreement based variances
      Before turning to whether a policy-based variance from the guidelines is
appropriate, some background is helpful.
      In discussing grounds for a variance from the guidelines, “[i]n Kimbrough [v.
United States, 552 U.S. 85 (2007)], the Supreme Court held that it was not an abuse of
discretion for a district court to vary from the Guidelines based on its policy
disagreement concerning the disparity between crack and powder cocaine sentences.”
United States v. Battiest, 553 F.3d 1132, 1137 (8th Cir. 2009) (citing Kimbrough, 552
U.S. at 110-111). Thus, “policy disagreements” may provide the basis for a variance



                                           17

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from a guidelines sentence, even in a “mine-run” case. Kimbrough, 552 U.S. at 109-
110.
       The Supreme Court took up the issue of the district court’s authority to vary
from guidelines sentences in Spears v. United States, 555 U.S. 261 (2009)               (per
curiam), which also involved the disparity between crack and powder cocaine
sentences.   In Spears, the Court explained that “the point of Kimbrough” is “a
recognition of district courts’ authority to vary from the crack cocaine Guidelines based
on policy disagreement with them, and not simply based on an individualized
determination that they yield an excessive sentence in a particular case.” Spears, 555
U.S. at 264. The Court also reiterated that a variance that is based on a policy or
“categorical” disagreement with the guidelines, where the guidelines in question “‘do
not exemplify the Commission’s exercise of its characteristic institutional role,’” are
entitled to as much “respect” on appeal as a traditional “‘outside the ‘heartland’”
departure.   Id. (quoting Kimbrough, 552 U.S. at 109).          Furthermore, the Court
clarified, that if the sentencing court disagrees with the 100:1 ratio for crack cocaine
cases, the sentencing court also necessarily has the authority to adopt some other ratio
to govern a “mine-run case.” Id. at 266. Specifically, “district courts are entitled to
reject and vary categorically from the crack-cocaine guidelines based on a policy
disagreement with those Guidelines.”        Id.   The Court found that adopting the
alternative of barring categorical variances “would likely yield one of two results”:
             Either district courts would treat the Guidelines’ policy
             embodied in the crack-to-powder ratio as mandatory,
             believing that they are not entitled to vary based on
             “categorical” policy disagreements with the Guidelines, or
             they would continue to vary, masking their categorical
             policy disagreements as “individualized determinations.”
             The latter is institutionalized subterfuge.  The former
             contradicts our holding in Kimbrough. Neither is an
             acceptable sentencing practice.
                                           18

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Id. at 266. The Court found, further, that the sentencing court had based its 20:1
replacement ratio on two well-reasoned decisions by other courts, which had, in turn,
reflected the Sentencing Commission’s expert judgment that a 20:1 ratio would be
appropriate in a “mine-run case.” Id. Not surprisingly, I paid special attention to the
holding in Spears because the Eighth Circuit Court of Appeals had decided the case en
banc, thus reversing the sentencing judge twice (in both the panel and en banc
opinions), and I was that sentencing judge.
      Spears specifically addressed only a sentencing court’s authority to reject the
100:1 crack-to-powder ratio under the guidelines, categorically, and on policy grounds,
and to adopt some other ratio to govern “mine-run cases.” Nevertheless, the powerful
implication of Spears is that, in other “mine-run” situations, the sentencing court may
also reject guideline provisions on categorical, policy grounds—particularly when those
guideline provisions “‘do not exemplify the Commission’s exercise of its characteristic
institutional role,’” id. (quoting Kimbrough, 552 U.S. at 89)—and may, consequently,
adopt some other well-reasoned basis for sentencing. Indeed, a number of federal
courts of appeals have held that Kimbrough and Spears apply to policy disagreements
with guidelines other than those applicable to crack cocaine.   See, e.g., United States
v. Henderson, 649 F.3d 955, 963 (9th Cir. 2011) (holding “district courts may vary
from the child pornography Guidelines, § 2G2.2, based on policy disagreement with
them, and not simply based on an individualized determination that they yield an
excessive sentence in a particular case.”); United States v. Grober, 624 F.3d 592, 599-
600 (3rd Cir. 2010) (holding that while sentencing court has authority to vary from
advisory guidelines range based on its policy disagreement, when it does so it must
provide “a reasoned, coherent, and sufficiently compelling explanation of the basis for
[its] disagreement.”) (quoting United States v. Merced, 603 F.3d 203, 220 (3d Cir.
2010) (internal quotation marks omitted); United States v. Corner, 598 F.3d 411, 415
                                              19

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(7th Cir. 2010) (en banc) (“We understand Kimbrough and Spears to mean that district
judges are at liberty to reject any Guideline on policy grounds—though they must act
reasonably when using that power.”); United States v. Cavera, 550 F.3d 180, 191 (2d
Cir. 2008) (en banc) (“As the Supreme Court strongly suggested in Kimbrough, a
district court may vary from the Guidelines range based solely on a policy disagreement
with the Guidelines, even where that disagreement applies to a wide class of offenders
or offenses.”); United States v. Rodriguez, 527 F.3d 221, 227 (1st Cir. 2008)
(“[Kimbrough] makes plain that a sentencing court can deviate from the guidelines
based on general policy considerations.”).
      Following this line of Supreme Court precedent, the Eighth Circuit Court of
Appeals, as well as other courts of appeals, held that district courts are free to vary
from the Career Offender guideline based on policy disagreements with it.12 See United
States v. Gray, 577 F.3d 947, 950 (8th Cir. 2009) (holding that district court did not
“misunderstand its authority to vary from the career-offender guideline” on the basis of

      12
         Two courts of appeals previously held that judges could not disagree with the
policy behind § 4B1.1 by reading 28 U.S.C. § 994(h) as equivalent to a directive to the
courts, rather than as a directive only to the Sentencing Commission. See United States
v. Welton, 583 F.3d 494 (7th Cir. 2009); United States v. Vazquez, 558 F.3d 1224
(11th Cir. 2009). The Eleventh Circuit’s Vazquez decision was vacated and remanded
by the Supreme Court, see Vazquez v. United States, 130 S. Ct. 1135 (2010), after the
Solicitor General conceded error. See Vazquez v. United States, No. 09-5370, 2009
WL 5423020, at *9 (Nov. 16, 2009) (U.S. Brief) (arguing that petition should be
granted and the judgment vacated and remanded for reconsideration because the
“premise that congressional directives to the Sentencing Commission are equally
binding on the sentencing courts . . . is incorrect,” and because “all guidelines are
advisory, and the very essence of an advisory guideline is that a sentencing court may,
subject to appellate review for reasonableness, disagree with the guideline in imposing
sentencing under Section 3553(a)”). Relying in part on this development, the Seventh
Circuit Court of Appeals reconsidered, and held that, since § 994(h) is not a directive
to the courts, courts are as much at liberty to disagree with it as with any other
guideline. Corner, 598 F.3d at 415-16.
                                             20

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policy disagreements, thus implying that a district court has authority to vary from
Career Offender guideline based on policy disagreements with it); see also United
States v. Collins, 474 Fed. App’x 142, 144 (4th Cir. 2012); United States v. Mitchell,
624 F.3d 1023, 1028-30 (9th Cir. 2010); United States v. Corner, 598 F.3d 411, 416
(7th Cir. 2010) (en banc); United States v. Michael, 576 F.3d 323, 327-28 (6th Cir.
2009); United States v. McLean, 331 Fed. Appx. 151, 152 (3d Cir. June 22, 2009);
United States v. Boardman, 528 F.3d 86, 87 (1st Cir. 2008); United States v. Sanchez,
517 F.3d 651, 662-63 (2d Cir. 2008).
      For the reasons discussed below, I join the growing chorus of federal judges who
have rejected applying the Career Offender guideline in certain cases.       See United
States v. Whigham, 754 F. Supp.2d 239, 247-48 (D. Mass. 2010) (granting downward
variance on a number of grounds and noting that “there is also no question that the
career offender guidelines are flawed.”); United States v. Merced, No. 2:08-cr-000725,
2010 WL 3118393, at *4 (D.N.J. Aug. 4, 2010) (granting variance from Career
Offender guideline based on defendant’s specific circumstances rather than as a policy
based variance); United States v. Woody, No. 8:09CR382, 2010 WL 2884918, at *9
(July. 20, 2010) (declining to apply Career Offender guideline because its application
resulted in a sentence “excessively harsh” given defendant’s offense conduct and
criminal history); United States v. Patzer, 548 F. Supp.2d 612, 617 (N.D. Ill. 2008)
(declining to apply Career Offender guideline where its application overstated the
seriousness of the defendant’s prior convictions and was in excess of that required for
deterrence); United States v. Moreland, 568 F. Supp.2d 674, 688 (S.D. W. Va. 2008)
(granting variance from Career Offender guideline where defendant was not “the
‘repeat violent offender’ nor ‘drug trafficker’ targeted by the career offender guideline
enhancement,” had not demonstrated a “pattern of recidivism or violence,” and
applying the Career Offender guideline resulted in unwarranted sentencing uniformity);

                                           21

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United States v. Malone, No. 04-80903, 2008 WL 6155217, at *4 (E.D. Mich. Feb.
22, 2008) (granting downward variance from Career Offender guideline because
sentence under it would punish defendant “greater than necessary to achieve the
objectives of sentencing” and would have an “unwarranted impact” on minority groups
“‘without clearly advancing a purpose of sentencing.’”) (quoting U.S. SENTENCING
COMM’N, FIFTEEN YEARS OF GUIDELINES SENTENCING, AN ASSESSMENT OF HOW
WELL THE FEDERAL CRIMINAL JUSTICE SYSTEM IS ACHIEVING THE GOALS OF
SENTENCING REFORM 134 (2004)); United States v. Fernandez, 436 F. Supp.2d 983,
988-90 (E.D. Wisc. 2006) (declining to apply Career Offender guideline because, based
on defendant’s specific circumstances, it produced a guideline range “greater than
necessary to satisfy the purposes of sentencing.”); United States v. Naylor, 359 F.
Supp. 2d 521, 524 (W.D. Va. 2005) (declining to impose Career Offender guideline
due to defendant’s young age when he committed the predicate offenses); United States
v. Serrano, No. 04CR.424-19(RWS), 2005 WL 1214314, at *8 (S.D.N.Y. May 19,
2005) (imposing “non-guideline sentence” where defendant’s Career Offender predicate
offenses were all minor drug offenses for which defendant had never spent more than
one year in prison); United States v. Carvajal, No. 04CR222AKH, 2005 WL 476125,
at *5 (S.D.N.Y. Feb. 22, 2005) (finding Career Offender guideline resulted in
sentences “excessive, in light of the nature of [defendant’s] recidivism, for the
Guidelines for Career Offenders are the same regardless of the severity of the crimes,
the dangers posed to victims’ and bystanders’ lives, and other appropriate criteria.”);
cf. United States v. Poindexter, 550 F. Supp. 2d 578, 580-81 (E.D. Pa. 2008) (noting
that sentencing court did not apply Career Offender guideline because it “determined
that the career offender designation ‘overrepresents the total offense level in this
case’”).



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      2.     Flaws in the Career Offender Guideline
      I turn now to a discussion of my quasi-categorical policy disagreements with the
Career Offender guideline when applied to a defendant, like Newhouse, who is a non-
violent, recidivist drug addict occupying a low-level role in the drug trade in order to
obtain drugs for her addiction. I use the phrase “quasi-categorical” because I recognize
that some offenders have earned Career Offender status and should be sentenced within
the Career Offender guideline, and, in rare instances, higher.
             a.     A flawed creation
                    i.     The Sentencing Commission’s institutional role
      The Sentencing Reform Act of 1984 (“SRA”), a chapter of the Comprehensive
Crime Control Act of 1984, Pub. L. 98-473, 98 Stat. 2068, created the Sentencing
Commission.13 See Dorsey v. United States, 132 S. Ct. 2321, 2326 (2012); Southern
Union Co. v. United States, 132 S. Ct. 2344, 2358 (2012). The SRA directed the
Sentencing Commission to enact sentencing guidelines that would meet the purposes of
sentencing set forth in § 3553(a)(2), provide fairness, reduce unwarranted disparities,
maintain sufficient flexibility to permit individualized sentences, and reflect
advancement in knowledge of human behavior. Pub. L. No. 98-473, §§ 217(a), 239,
98 Stat. 1987 (1984); 28 U.S.C. § 991(b)(1). The SRA further directed the Sentencing
Commission to “develop means of measuring the degree to which the [guidelines] are
effective in meeting the purposes of sentencing,” 28 U.S.C. § 991(b)(2), and was

      13
         The Comprehensive Crime Control Act was a lengthy piece of legislation that
revised many other aspects of the federal criminal justice system including the penalty
schemes for federal drug offenders, bail reform measures, and the establishment of a
crime victims fund. See Controlled Substances Penalties Amendments Act, Pub.L. 98-
473, Tit. II, ch. V, 98 Stat. 2068 (penalty scheme revisions); the Bail Reform Act of
1984. Pub.L. 98-473, Tit. II, ch. I, 98 Stat. 1976 (bail); and Victims of Crime Act of
1984, Pub.L. 98-473, Tit. II, ch. XIV, 98 Stat. 2170 (creation of crime victims fund).

                                           23

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granted extensive research powers to do so.14 28 U.S.C. § 995(a)(12)-(16). According
to Justice Breyer, writing for the majority in Rita, the Sentencing Commission
developed the first set of guidelines through an empirical approach, examining 10,000
presentence reports, and determining average sentences imposed before the guidelines,
Rita, 551 U.S. at 349, and that, as directed in 28 U.S.C. § 994(p), the Sentencing
Commission could revise the guidelines thereafter by studying federal court decisions
and seeking advice from prosecutors, law enforcement personnel, defense counsel, civil
liberties groups, and experts.15 Id. at 350. “The result is a set of Guidelines that seek
to embody the § 3553(a) considerations, both in principle and in practice.” Id.
      The Sentencing Commission has at times strayed from the “characteristic
institutional role” described in the SRA and by the Court in Rita, and, when it has, the
resulting guidelines are unlikely to properly reflect § 3553(a) considerations.      See
Kimbrough, 552 F.3d at 101-02. Kimbrough provides an example of a guideline that

      14
           As Justice Breyer recognized in his concurrence in Pepper:

               The trial court typically better understands the individual
               circumstances of particular cases before it, while the
               Commission has comparatively greater ability to gather
               information, to consider a broader national picture, to
               compare sentences attaching to different offenses, and
               ultimately to write more coherent overall standards that
               reflect nationally uniform, not simply local, sentencing
               policies.
Pepper, 131 S. Ct. at 1254 (Breyer, J., concurring in part and concurring in the
judgment).

      15
          As the Court explained in Kimbrough, one of the Sentencing Commission’s
institutional strengths is its capacity to base “determinations on empirical data and
national experience, guided by a professional staff with appropriate expertise.”
Kimbrough, 552 U.S. at 109 (internal citation and quotation marks omitted).

                                            24

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was not a product of the Sentencing Commission’s expertise.             In Kimbrough, the
Supreme Court found that the guidelines’ 100:1 powder/crack ratio was not based on
the Sentencing Commission’s empirical research, but, instead, was simply borrowed
from the ratio Congress used to set minimum and maximum sentences in the Anti–Drug
Abuse Act of 1986. Id. at 95–96. In turn, the Anti-Drug Abuse Act’s ratio was based
on Congress’s mere assumptions regarding the relative dangerousness of crack. Id. at
95.    After adopting the 100:1 ratio in the original guidelines, the Sentencing
Commission’s research revealed that many of the assumptions used to justify the 100:1
ratio were baseless. Id. at 97–98. As a result, the Sentencing Commission attempted
to amend the guidelines to reduce the ratio to 1:1, but Congress blocked this attempt
pursuant to 28 U.S.C. § 994(p), which provides that guideline amendments become
effective unless disapproved by Congress. Id. at 99. Given that the 100:1 ratio was
expressly contrary to the Sentencing Commission’s own research, the Court held that
the ratio did not “exemplify the Commission’s exercise of its characteristic institutional
role.” Id. at 109.
       As with the crack cocaine guideline, the Sentencing Commission strayed from its
institutional role with the Career Offender guideline, albeit in both its creation and
expansion. A subject I explore next.
                     ii.   Flawed origins and expansions of the Career
                           Offender guideline
       The Career Offender guideline arose from Congress’s statutory directive to the
Sentencing Commission to set higher guideline ranges for “certain felony recidivists.”16


       16
         Enhanced sentencing for recidivists is hardly a concept new to the United
States Sentencing Guidelines. The third book of the Old Testament, Leviticus,
recognized an enhanced punishment of seven times for a series of rules not previously
obeyed: “And if ye will not yet for all this hearken vnto me, then I will punish you
seuen times more for your sinnes.” 26 Levitcus 18 (King James (1611)).
                                           25

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See United States v. Coleman, 635 F.3d 380, 382 (8th Cir. 2011).              Specifically,
Congress was interested in targeting “repeat drug traffickers” and “repeat violent
offenders.” S. Rep. No. 98-225, at 175 (1983).17 The Congressional view at the time



      17
         As former Judge Nancy Gertner recently pointed out, Congress did not intend
the Career Offender guideline to corral low-level drug dealers or users like Newhouse,
but rather drug trafficking offenders involving large amounts of narcotics. Whigham,
754 F. Supp. 2d at 248. Judge Gertner wrote:

                    While there is no question that Whigham is a Career
             Offender under the Guidelines, § 4B1.1, there is also no
             question that the career offender guidelines are flawed. The
             offenses that put Whigham in the career offender category
             are drug offenses—low level, litigated largely in the district
             court, without violence or guns. As I have said elsewhere,
             there are career offenders and there are career offenders.
             There are offenders who qualify for career offender
             treatment because of a life of violent crime. There are others
             who meet the Guidelines standard, like Whigham, because
             of a series of very minor drug charges.
                    Long before Booker, the case law recognized that in
             many cases the career offender guidelines in fact overstated
             a defendant's culpability; that it swept into one category
             wholly dissimilar offenders, such as drug offenders who
             have a much lower recidivism rate than violent offenders.
                    While 28 U.S.C. § 994(h) directed the Sentencing
             Commission to promulgate the career offender provisions,
             Whigham is hardly the kind of individual that Congress had
             in mind. Congress’ directive for a harsh career offender
             penalty—as applied to a drug felony—was very clearly
             aimed at “drug trafficking offense[s]” involving large
             amounts of narcotics. See S.Rep. No. 98–225 (1983),
             reprinted in 1984 U.S.C.C.A.N. 3182, at 3196. Their
             targets were those making substantial amounts of money
             who were flight risks because they could easily post “bond
                                          26

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was that drug trafficking was an “extremely lucrative” enterprise “carried on to an
unusual degree by persons engaged in continuing patterns of criminal activity,” and that
“drug traffickers often have established substantial ties outside the United States from
whence most dangerous drugs are imported into the country.” Id. at 20, 213, 256.
With this Congressional mindset, § 994(h) of Title 28, enacted as part of the SRA,
directed:
      The Commission shall assure that the guidelines specify a sentence
      to a term of imprisonment at or near the maximum term authorized
      for categories of defendants in which the defendant is eighteen
      years old or older and—
                    (1) has been convicted of a felony that is—
                           (A) a crime of violence; or
                           (B) an offense described in section 401 of the
                           Controlled Substances Act (21 U.S.C. 841),
                           sections 1002(a), 1005, and 1009 of the
                           Controlled Substances Import and Export Act
                           (21 U.S.C. 952(a), 955, and 959), and chapter
                           705 of title 46; and
                    (2) has previously been convicted of two or more prior
                    felonies, each of which is—
                           (A) a crime of violence; or
                           (B) an offense described in section 401 of the
                           Controlled Substances Act (21 U.S.C. 841),
                           sections 1002(a), 1005, and 1009 of the


             in the hundreds of thousands of dollars” and flee to a
             country where they “have established substantial ties outside
             the United States from whence most dangerous drugs are
             imported.” Id. at 3203. Whigham does not remotely fit this
             portrait. He is a petty dealer . . . .
Id. at 247-48 (citations and footnote omitted).
                                            27

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                              Controlled Substances Import and Export Act
                              (21 U.S.C. 952(a), 955, and 959), and chapter
                              705 of title 46.
       28 U.S.C. § 994(h).18
       For reasons unknown, the Sentencing Commission did not follow the plain terms
of this statutory directive.      An early version of the Career Offender guideline,
published for public comment, provided: “The controlled substance offenses covered by
this provision are identified in 21 U.S.C. § 841; 21 U.S.C. §§ 952(a), 955, 955a [later
codified at 46 U.S.C. § 70503], 959; and in §§ 405B and 416 of the Controlled
Substance Act as amended in 1986.” See 52 Fed. Reg. 3920 (Feb. 6, 1987). This
version was faithful to the statutory directive in § 994(h). However, this version was
not adopted. Instead, since its first official set of sentencing guidelines, the Sentencing
Commission has repeatedly expanded the list of qualifying drug offenses by adding
numerous state and federal drug offenses to those listed in § 994(h).19 To date, the
following drug trafficking offenses have been added to the offenses in § 994(h):

              18
                   The Senate Judiciary Committee explained that:

       Subsection (h) was added to the bill in the 98th Congress to replace
       a provision proposed by Senator Kennedy enacted in S. 2572, as
       part of proposed 18 U.S.C. § 3581, that would have mandated a
       sentencing judge to impose a sentence at or near the statutory
       maximum for repeat violent offenders and repeat drug offenders.
       The Committee believes that such a directive to the Sentencing
       Commission will be more effective; the guidelines’ development
       process can assure consistent and rational implementation of the
       Committee’s view that substantial prison terms should be imposed
       on repeat violent offenders and repeat drug offenders.
S. Rep. No. 98-225, at 175 (1983).

              19
                   This expansion is well-chronicled by Baron-Evans and her colleagues:

                                             28

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                11/1/87: “Controlled substance offense” was defined
         in the initial guideline as “an offense identified in” the
         federal statutes enumerated in § 994(h), and also § 845b
         (employing persons under 18, later transferred to § 861),
         § 856 (maintaining drug involved premises), “and similar
         offenses.” U.S. Sentencing Guidelines Manual § 4B1.2(2)
         (1987). The commentary explained that this included “the
         federal offenses identified in the statutes referenced in
         § 4B1.2, or substantially equivalent state offenses,” that
         these offenses “include” manufacturing, distributing,
         dispensing, or possessing with intent to manufacture,
         distribute or dispense a controlled substance or counterfeit
         substance, and also aiding and abetting, conspiring or
         attempting to commit such offenses. Id. at cmt. n.2. . . . .


                 1/15/88: The covered offenses were broadened
         through the commentary by changing “the federal offenses
         identified in the statutes referenced in § 4B1.2, or
         substantially equivalent state offenses” to “any federal or
         state offense that is substantially similar to any of those
         listed in” § 4B1.2. Importing and possessing with intent to
         import were added to the commentary. See App. C, Amend.
         49 (1988); U.S. Sentencing Guidelines Manual § 4B1.2,
         cmt. n.2 (1988). . . .


                11/1/89: The covered offenses were broadened by
         deleting all reference to identified federal offenses from the
         guideline and defining “controlled substance offense” in the
         guideline itself as “an offense under a federal or state law
         prohibiting the manufacture, import, export, or distribution
         of a controlled substance (or a counterfeit substance) or the
         possession of a controlled substance (or a counterfeit
         substance) with intent to manufacture, import, export, or
         distribute.” See App. C, Amend. 268 (1989); U.S.
         Sentencing Guidelines Manual § 4B1.2(2) (1989). This
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         amendment also arguably narrowed the offenses by deleting
         21 U.S.C. §§ 856 and 861 and omitting “dispensing.”
         Aiding and abetting, attempt, and conspiracy were retained
         in the commentary. Id. at cmt. n.1.


                11/1/91: “Dispensing” was added back in, to make
         the definition “more comprehensive.” See App. C, Amend.
         433 (1991); U.S. Sentencing Guidelines Manual § 4B1.2(2)
         (1991).
                                 ....


                           11/1/97:     The Commission specified five
         offenses. . . .
                Unlawfully possessing a listed chemical with intent to
         manufacture a controlled substance, 21 U.S.C. § 841(d)(1)
         [now 21 U.S.C. § 841(c)(1)], and unlawfully possessing a
         prohibited flask or equipment with intent to manufacture a
         controlled substance, 21 U.S.C. § 843(a)(6), were added. .
         . . The Reason for Amendment was that it was the
         Commission’s “view that there is such a close connection
         between possession of a listed chemical or prohibited flask
         or equipment with intent to manufacture a controlled
         substance and actually manufacturing a controlled substance
         that the former offenses are fairly considered as controlled
         substance trafficking offenses.” See U.S. Sentencing
         Guidelines Manual App. C, Amend. 568 (1997) (emphasis
         added).
                 Maintaining a place for the purpose of facilitating a
         drug offense, 21 U.S.C. § 856, using a communications
         facility in committing, causing, or facilitating a drug
         offense, 21 U.S.C. § 843(b), and possessing a firearm
         during and in relation to a crime of violence or drug offense,
         18 U.S.C. § 924(c) were added with the proviso that the
         offense of conviction must have established that the
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                   (1) inchoate offenses—aiding and abetting, attempt,
             conspiracy
                    (2) any state offense punishable by more than one
             year
                    (3) “[u]nlawfully possessing a listed chemical with
             intent to manufacture a controlled substance,” 21 U.S.C. §
             841(c)(1)
                    (4) “[u]nlawfully possessing a prohibited flask or
             equipment with intent to manufacture a controlled
             substance,” 21 U.S.C. § 843(a)(6)
                     (5) “[m]aintaining any place for the purpose of
             facilitating a controlled substance offense,” 21 U.S.C. §
             856, “if the offense of conviction established that the
             underlying offense (the offense facilitated) was a ‘controlled
             substance offense’”
                    (6) “[u]sing a communications facility in committing,
             causing or facilitating a drug offense,” 21 U.S.C. § 843(b),
             “if the offense of conviction established that the underlying
             offense (the offense committed, caused or facilitated) was a
             ‘controlled substance offense’”
                     (7) a “violation of 18 U.S.C. § 924(c) or § 929(a) . .
             . if the offense of conviction established that the underlying
             offense was a . . . ‘controlled substance offense.’”
Baron-Evans et. al, Deconstructing the Career Offender Guideline, 2 Charlotte L. Rev.
at 56-57 (quoting U.S. SENTENCING GUIDELINES Manual § 4B1.2, cmt. n.1 (2009)).
None of the reasons for amendment reference any empirical studies, sentencing data, or




             underlying offense was a “controlled substance offense” or a
             “crime of violence.”
Baron-Evans et. al, Deconstructing the Career Offender Guideline, 2 CHARLOTTE L.
REV. at 53-56.
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other indicia of national experience that would support subjecting additional, and less
serious, offenders to the severe Career Offender guideline than Congress specified.
      The Career Offender guideline is further flawed through the operation of 21
U.S.C. § 851. As in this case, the prosecutor can decide in his or her sole discretion
whether to file an information under § 851, which raises the statutory maximum and, in
turn, the offense level under the Career Offender table.       In 1994, the Sentencing
Commission sought to rectify this problem with an amendment that would have
excluded any increase in the maximum term under 21 U.S.C. §§ 841 and 851,
explaining that the amendment “avoids unwarranted double counting as well as
unwarranted disparity associated with variations in the exercise of prosecutorial
discretion in seeking enhanced penalties based on prior convictions.”                 U.S.
SENTENCING GUIDELINES MANUAL App. C, Amend. 506 (1994). The Supreme Court
invalidated the amendment because, it said, it was “at odds with § 994(h)’s plain
language,” in particular, the phrase “maximum term authorized.” United States v.
LaBonte, 520 U.S. 751, 757 (1997).20
      Thus, unlike the guidelines development process described in Rita, the
Sentencing Commission did not use empirical data of average sentences, pre-guidelines,
as the starting point for the Career Offender guideline. See 28 U.S.C. § 994(m); S.
Rep. No. 98-225, at 116 (1983) (noting that under the sentencing guidelines “the
average time served should be similar to that served today in like cases”). Instead, as
the Sentencing Commission said, “much larger increases are provided for certain repeat
offenders, consistent with legislative direction” than under pre-guidelines practice. See
U.S. Sentencing Commission, Supplementary Report on the Initial Sentencing

      20
         The Sentencing Commission then amended the commentary to include any
increase in the statutory maximum based on the defendant’s prior criminal record. See
U.S. SENTENCING GUIDELINES MANUAL App. C, Amend. 567 (1997).

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Guidelines   and   Policy   Statements   44     (1987),    available   at   http://www.src-
project.org/wp-content/pdfs/reports/USSC_Supplementary%20Report.pdf. As a result,
the Career Offender sentencing ranges were set at or near the maximum term,
regardless of whether the resulting sentences met the purposes of sentencing, created
unwarranted disparity, or conflicted with the “parsimony provision” of § 3553(a),
which directs judges to impose a sentence that is “sufficient, but not greater than
necessary” to accomplish the goals of sentencing.
      The amendments to the Career Offender guideline did not rectify these failings,
but only multiplied them by greatly expanding the drug offenses that qualified as
predicate drug crimes.21 The amendments added drug offenses which were untethered
from the requirements of § 994(h) and not the product of any study, empirical research,
or sentencing data,22 though the sentencing data clearly indicated there was a problem.
See Michael S. Gelacak, Ilene H. Nagel, and Barry L. Johnson, Departures Under the
Federal Sentencing Guidelines: An Empirical and Jurisprudential Analysis, 81 Minn. L.
Rev. 299, 356-57 (1996) (Commission study found “extensive use of [downward]

      21
         This expansion in the number of qualifying predicate drug offenses dovetailed
with Congress’s expansion of the number of federal criminal statutes that prescribed a
mandatory minimum sentence. See Ricardo H. Hinojosa, Chair, United States
Sentencing Commission, Statement Before the House Judiciary Committee
Subcommittee on Crime, Terrorism, and Homeland Security, 110th Cong. 6 (June 26,
2007), available at http://judiciary.house.gov/hearings/printers/110th/ 36343.pdf
(noting the Sentencing Commission’s finding that there are “at least 171 mandatory
minimum provisions in Federal criminal statutes.”).
      22
         It may be, as amicus argues, that in expanding the predicates beyond those
“described in” 28 U.S.C. § 994(h), the Sentencing Commission violated the plain
language of a specific directive of Congress, United States v. LaBonte, 520 U.S. 751,
757 (1997), because when a statute refers to offenses “described in” specific sections of
the criminal code, it means those specific offenses. See Nijawan v. Holder, 557 U.S.
29, 36-37 (2009). I need not decide whether the Career Offender guideline is invalid,
however, because I have discretion to vary from it.
                                           33

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departures from sentences generated by the career offender guideline” that were “quite
substantial” and often because the predicates were “minor or too remote in time to
warrant consideration”).
      Thus, I reject the prosecution’s suggestion that the Career Offender guideline
results from Congress’s and the Sentencing Commission’s “thoughtful consideration.”
Instead, I find that the Career Offender guideline results from an imprecisely
implemented congressional mandate and is entitled to considerably less deference than
those guidelines where the Sentencing Commission has exercised its institutional
expertise and utilized empirical analysis. Even giving the Career Offender guideline
less deference than other guidelines, as I explained earlier, I do not have a categorical
policy disagreement with the Career Offender guideline, rather, a quasi-categorical
policy disagreement with it when applied to low-level, non-violent drug addicts.
Sometimes, the Career Offender guideline, even with all its identified flaws, arrives at
a sentencing range that fulfills the overarching purpose of sentencing—imposing “a
sentence sufficient but not greater than necessary, to comply with the purposes” of
federal sentencing. See 18 U.S.C. § 3553(a). But, particularly when applied to low
level, non-violent drug addicts, it all too often arrives at a sentencing range that is in
acuminous conflict with the § 3553(a) factors and with a just and fair sentence. When
this happens, we as federal sentencing judges should be mindful of Judge McConnell’s
wise observation in applying the Career Offender guideline:
             It follows that district courts should not be overly shy about
             concluding that particular defendants, even if third-time drug
             sellers, do not have the profile Congress and the
             Commission had in mind when they directed that sentences
             for career drug offenders be set at or near the top of the
             statutory range. Booker discretion is at its zenith when
             sentencing courts make the judgment that the particular
             conduct of the defendant falls only marginally within the


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              scope of a guideline that even the Commission regards as
              overbroad and (in some applications) counter-productive.
United States v. Pruitt, 502 F.3d 1154, 1172 (10th Cir. 2007) (McConnell, J.,
concurring), vacated for reconsideration, 532 U.S. 1306 (2008). This is mandated not
only by the Supreme Court but by Congress when it passed the § 3553(a) factors.
Implementing my quasi-categorical policy disagreement with U.S.S.G. § 4B1.1
requires a case by case analysis and careful application of the § 3553(a) factors.
              b.     Failing to promote the goals of sentencing
       The prosecution argues that the Career Offender guideline promotes the goals of
sentencing. On the contrary, I find that, as a result of the flaws in the creation of the
Career Offender guideline and its repeated expansion of predicate drug offenses
untethered from the requirements of § 994(h), the Career Offender guideline frequently
fails to promote the goals of sentencing outlined in 18 U.S.C. § 3553(a). What follows
is an examination of the Career Offender guideline’s failings in the promotion of the
goals of sentencing, particularly with respect to low-level, non-violent drug addicts who
often engage in drug trafficking solely to satisfy their drug addiction.
                     i.     Just punishment in light of the seriousness of the
                            offense
       One purpose of sentencing is to provide “just punishment” in light of the
“seriousness of the offense.” 18 U.S.C. § 3553(a)(2)(A). Low-level, non-violent drug
addicts who participate in the drug trade to support their habits are hardly the kind of
individuals Congress had in mind when it directed the Sentencing Commission to
promulgate the Career Offender guideline. Congress’s directive was clearly aimed at
“drug trafficking offense[s]” involving large amounts of drugs. See S. REP. NO. 98-
225 at 175 (1983). Low-level, non-violent drug addicts are not drug kingpins engaged
in repeated and “extremely lucrative” drug trafficking as envisioned by Congress. On


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the contrary, they occupy the opposite end of the spectrum of the drug universe, low-
level cogs in the drug trade, who are readily replaced following their arrest. See U.S.
SENTENCING COMM’N, FIFTEEN YEARS OF GUIDELINES SENTENCING, AN ASSESSMENT
OF HOW WELL THE FEDERAL CRIMINAL JUSTICE SYSTEM IS ACHIEVING THE GOALS OF

SENTENCING REFORM 134 (2004).
                     ii.   Protecting the public against further crimes of the
                           defendant
       Another purpose of sentencing is to “protect the public from further crimes of
the defendant.” 18 U.S.C. § 3553(a)(2)(C). This purpose turns on “‘the likelihood that
[the defendant] will . . . commit crimes in the future,’” United States v. Burroughs,
613 F.3d 233, 243 (D.C. Cir. 2010) (internal citation omitted), and is a function of two
variables: predicting the likelihood that the offender will commit further offenses and
assessing the potential seriousness of those offenses. See United States v. Boyd, 475
F.3d 875, 877–78 (7th Cir. 2007) (observing that “[d]angerousness is a function of the
magnitude of the harm that will occur if danger materializes and the probability that it
will materialize”). The prosecution argues that the Career Offender guideline promotes
this goal. I disagree.
       Application of the Career Offender guideline has a strong potential to overstate
the seriousness of a defendant’s record and the risk of his or her re-offending,
particularly when the defendant is a low-level, non-violent drug addict. The Sentencing
Commission, in its Fifteen Year Report, found that the Career Offender guideline can
produce sentences greater than necessary to satisfy the purposes of sentencing,
particularly where it is based on minor drug offenses. The Sentencing Commission
observed:
                      The question for policymakers is whether the career
              offender guideline, especially as it applies to repeat drug
              traffickers, clearly promotes an important purpose of

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             sentencing. Unlike repeat violent offenders, whose
             incapacitation may protect the public from additional crimes
             by the offender, criminologists and law enforcement officials
             testifying before the Commission have noted that retail-level
             drug traffickers are readily replaced by new drug sellers so
             long as the demand for a drug remains high. . . .
                    Most importantly, preliminary analysis of the
             recidivism rates of drug trafficking offenders sentenced
             under the career offender guideline based on prior drug
             convictions shows that their rates are much lower than other
             offenders who are assigned to criminal history category VI.
             The overall rate of recidivism for category VI offenders two
             years after release from prison is 55 percent (USSC, 2004).
             The rate for offenders qualifying for the career criminal
             guideline based on one or more violent offenses is about 52
             percent. But the rate for offenders qualifying only on the
             basis of prior drug offenses is only 27 percent. The
             recidivism rate for career offenders more closely resembles
             the rates for offenders in the lower criminal history
             categories in which they would be placed under the normal
             criminal history scoring rules in Chapter Four of the
             Guidelines Manual. The career offender guideline thus
             makes the criminal history category a less perfect measure
             of recidivism risk than it would be without the inclusion of
             offenders qualifying only because of prior drug offenses.
U.S. SENTENCING COMM’N, FIFTEEN YEARS OF GUIDELINES SENTENCING, AN
ASSESSMENT OF HOW WELL THE FEDERAL CRIMINAL JUSTICE SYSTEM IS ACHIEVING
THE GOALS OF SENTENCING REFORM 134 (2004) (emphasis in original). See also Pruitt,

502 F.3d at 1167-68 (McConnell, J., concurring) (noting that the Sentencing
Commission criticized “the sweep” of the Career Offender guideline in its Fifteen Year
Report); United States v. Steward, 339 Fed. Appx. 650, 653 (7th Cir. 2009) (reversing
career offender sentence where district court failed to consider defendant’s well-
supported argument based in part on the Sentencing Commission’s Fifteen Year
Report); Malone, No. 04-80903, 2008 WL 6155217, at *2, 4 (declining to apply the
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Career Offender guideline, relying, in part, on the Sentencing Commission’s Fifteen
Year Report).
       Thus, as the Sentencing Commission found, the category VI designation required
by the Career Offender guideline does not accurately reflect the risk of recidivism for
career offenders who qualify on the basis of prior drug convictions. Moreover, “the
Commission itself recognizes that the career offender provision—at least to the extent
that it is triggered by prior drug convictions—may contribute to racial disparity and is
not clearly justified by the purposes of sentencing.” Sarah French Russell, Rethinking
Recidivist Enhancements: The Role of Prior Drug Convictions in Federal Sentencing,
43 U.C. DAVIS L. REV. at 1176.
       Thus, because application of the Career Offender guideline has the strong
potential to overstate the seriousness of a defendant’s criminal history and the risk of
his or her re-offending, the Career Offender guideline fails to promote the goal of
protecting the public from further crimes. This is especially true when the Career
Offender guideline is applied to low-level, non-violent drug addicts because such
individuals’ criminal histories are apt to be made up of relatively minor, non-violent,
drug crimes fueled by their drug addiction.
                     iii.   Deterrence
       Another purpose of sentencing is general deterrence.                18 U.S.C. §
3553(a)(2)(B).   The prosecution contends that the Career Offender guideline also
promotes this goal. I disagree. The Sentencing Commission has recognized, “retail
level drug traffickers are readily replaced by new drug sellers so long as the demand
remains high. Incapacitating a low-level drug seller prevents little, if any, drug selling;
the crime is simply committed by someone else.”            U.S. SENTENCING COMM’N,
FIFTEEN YEARS OF GUIDELINES SENTENCING, AN ASSESSMENT OF HOW WELL THE
FEDERAL CRIMINAL JUSTICE SYSTEM IS ACHIEVING THE GOALS OF SENTENCING

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REFORM 134 (2004). Other researchers have found that, for drug offenders, variations
in sentence type and length “ha[d] no detectable effect on rates of re-arrest” over a
four-year time frame. See Donald P. Green & Daniel Winik, Using Random Judge
Assignments to Estimate the Effects of Incarceration and Probation on Recidivism
among Drug Offenders, 48 Criminology 357, 358, 359-60 (2010); see also U.S.
Department of Justice, An Analysis of Non-Violent Drug Offenders With Minimal
Criminal Histories, executive summary (1994) (reporting that non-violent drug
offenders with little criminal history are deterred by a short prison sentence as well as a
long one).23 Thus, applying the Career Offender guideline to low-level, non-violent
drug addicts results in sentences significantly greater than necessary to achieve the
sentencing goal of deterring further crimes.
                      iv.    Rehabilitation in the most effective manner
       The final purpose of sentencing is to provide the defendant with “needed
educational or vocational training, medical care, or other correctional treatment in the
most effective manner.” 18 U.S.C. § 3553(a)(2)(D). The Career Offender guideline
as applied to low-level, non-violent drug addicts fails to recognize that drug treatment
works to rehabilitate offenders and thus reduce recidivism. See, e.g., Nat’l Institute on
Drug Abuse, Nat’l Institutes of Health, Principles of Drug Abuse Treatment for
Criminal Justice Populations (2006) (“[T]reatment offers the best alternative for
interrupting the drug abuse/criminal justice cycle for offenders with drug abuse
problems. . . . Drug abuse treatment is cost effective in reducing drug use and bringing
about associated healthcare, crime, and incarceration cost savings” because every dollar
spent toward effective treatment programs yields a four to seven dollar return in



       23
            Available at https://www.ncjrs.gov/pdffiles1/Digitization/147721NCJRS.pdf.

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reduced drug-related crime, criminal costs and theft.).24 “[S]tatistics suggest that the
rate of recidivism is less for drug offenders who receive treatment while in prison or
jail, and still less for those treated outside of a prison setting.”    United States v.
Perella, 273 F. Supp. 2d 162, 164 (D. Mass. 2003) (citing Lisa Rosenblum, Mandating
Effective Treatment for Drug Offenders, 53 Hastings L.J. 1217, 1220 (2002)); see
Elizabeth K. Drake, Steve Aos, & Marna G. Miller, Evidence-Based Public Policy
Options to Reduce Crime and Criminal Justice Costs: Implications in Washington State,
tbl.1 (2009) (finding that treatment-oriented intensive supervision reduced recidivism by
17.9%; drug treatment in prison reduced recidivism by 6.4%; drug treatment in the
community reduced recidivism by 8.3%).25
                      v.     Unwarranted sentencing disparities—unwarranted
                             uniformity
      Section 3553(a) also requires a sentencing court to consider the need to avoid
unwarranted sentencing disparities. See Pepper, 131 S. Ct. at 1247; Spears, 555 U.S.
at 842; United States v. Gasaway, 684 F.3d 804, 807 (8th Cir. 2012); United States v.
Munjak, 669 F.3d 906, 907-08 (8th Cir. 2012).
      I must weigh “sentencing practices in other courts” against “the other § 3553(a)
factors and any unwarranted disparity created by the [guideline] itself.” Kimbrough,

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          Available at http://www.drugabuse.gov/sites/default/files/podat_cj_2012.pdf.
See also Doug McVay, Vincent Schiraldi, & Jason Ziedenberg, Justice Policy Institute
Policy Report, Treatment or Incarceration: National and State Findings on the Efficacy
of Cost Savings of Drug Treatment Versus Imprisonment 5-6 (2004) (“Dollar for dollar,
treatment reduces the societal costs of substance abuse more effectively than
incarceration does.”); see also id. at 18 (“A prison setting is ill-suited for the most
effective approach to persistent drug abuse, which consists of a broad framework of
substance abuse counseling with “job skill development, life skills training, [and]
mental health assessment and treatment.”).

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           Available at http://www.wsipp.wa.gov/rptfiles/09-00-12-1.pdf.

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552 U.S. at 108. The Sentencing Commission reported that in fiscal year 2011, only
39.9% of defendants subject to the Career Offender guideline were sentenced within it.
Only 1.1% were sentenced above the range. Judges departed or varied below the range
in 26.6% of cases without a prosecution motion, and in 38.4% of cases with a
prosecution motion. The high rate of below-guideline sentences indicates widespread
dissatisfaction with the severity of the Career Offender guideline by both judges and
prosecutors.26
       At the same time, I have a quasi-categorical policy disagreement with the Career
Offender guideline in part because its application has the strong potential to lead to two
distinct types of unwarranted sentencing disparities:       (1) unwarranted sentencing
uniformity, and (2) unwarranted sentencing disparities among defendants with similar
records who have been found guilty of similar conduct. I will discuss each of these
sentencing disparities in turn.
       Application of the Career Offender guideline can result in unwarranted
sentencing uniformity, a type of unwarranted disparity. See Paul J. Hofer & Mark H.
Allenbaugh, The Reason Behind the Rules: Finding and Using the Philosophy of the
Federal Sentencing Guidelines, 40 AM. CRIM. L. REV. 19, 83 (2003); Stephen J.
Schulhofer, Assessing the Federal Sentencing Process: The Problem Is Uniformity, Not
Disparity, 29 AM. CRIM. L. REV. 833, 851-71 (1992). This is because the Career
Offender guideline does not distinguish between defendants, convicted of the same drug
offense, based on either the seriousness of their current offense or their prior
convictions. The Career Offender guideline makes no distinction based on the roles of
the defendants. As a result, two defendants, one a low-level drug mule, and the other
the head of a drug conspiracy employing the defendant drug mule, are treated the same.


      E-mail from Timothy Drisko, Research Data Coordinator, U.S. Sentencing
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Comm’n, to Mark W. Bennett (Jan. 8, 2013, 12:47 CST).
                                           41

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Both defendants would be placed in criminal history category VI and placed at the same
offense level. Moreover, the Career Offender guideline makes no distinction based on
the seriousness of a defendant’s previous convictions. As a result, a defendant twice
convicted of selling a single marijuana cigarette is treated identically to a defendant who
has two convictions for trafficking tons of marijuana.
       I am not the first federal judge to notice this imperfection in the Career Offender
guideline. As one district court astutely observed:
              This factor initially seems to encourage deference to the
              Guideline range, because the Guidelines were developed to
              eliminate unwarranted sentencing disparities in federal
              courts. In practice, however, the focus of the Guidelines has
              gradually moved beyond elimination of unwarranted
              sentencing disparities and toward the goal of eliminating all
              disparities. As I have stated previously, this outcome is not
              only impractical but undesirable.
                      The career offender provisions of the Guidelines, as
              applied to this case, perfectly exhibit the limits of a
              Guideline-centric approach. Two relatively minor and non-
              violent prior drug offenses, cumulatively penalized by much
              less than a year in prison, vaulted this defendant into the
              same category as major drug traffickers engaged in gun
              crimes or acts of extreme violence. The career offender
              guideline provision provides no mechanism for evaluating
              the relative seriousness of the underlying prior convictions.
              Instead of reducing unwarranted sentencing disparities, such
              a mechanical approach ends up creating additional disparities
              because this Guideline instructs courts to substitute an
              artificial offense level and criminal history in place of each
              individual defendant’s precise characteristics.           This
              substitution ignores the severity and character of the
              predicate offenses.
Moreland, 568 F. Supp. 2d at 688 (footnote omitted); see United States v. Carvajal,
No. 04CR222AKH, 2005 WL 476125, at *5 (S.D.N.Y. Feb. 22, 2005) (observing that

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“the Guidelines for Career Offenders are the same regardless of the severity of the
crimes, the dangers posed to victims’ and bystanders’ lives, and other appropriate
criteria.”).
       This hiccup in the Career Offender guideline also comes as no surprise to the
Sentencing Commission, which long ago was informed of this flaw. Almost a quarter
century ago, the Sentencing Commission was told:
               [T]he [career offender] guideline is potentially over-
               inclusive. It makes no distinction between defendants
               convicted of the same offenses, either as to the seriousness
               of their instant offense or their previous convictions. For
               example, two defendants convicted of the same federal drug
               felony [e.g., 21 U.S.C. § 841(a)(1)], each with two prior
               drug offenses, would be subject to the same career offender
               sanction, even if one defendant was a drug ‘kingpin’ with
               serious prior offenses, while the other defendant was a low-
               level street dealer whose two prior convictions for
               distributing small amounts of drugs resulted in actual
               sentences of probation.
U.S. Sentencing Comm’n, Memorandum from Gary J. Peters to all United States
Sentencing Commissioners 13 (March 25, 1988), available at http://www.src-
project.org/wp-content/uploads/2009/08/ussc_report_careeroffender_19880325.pdf.
       The Supreme Court reiterated in Pepper that “‘[i]t has been uniform and
constant in the federal judicial tradition for the sentencing judge to consider every
convicted person as an individual and every case as a unique study in the human
failings that sometimes mitigate, sometimes magnify, the crime and the punishment to
ensue.’” Pepper, 131 S. Ct. at 1239-40 (quoting Koon v. United States, 518 U.S. 81,
113 (1996)). The Career Offender guideline runs counter to both this tradition and the
goals of sentencing by its serious potential to create unwarranted sentencing disparities
through unwarranted sentencing uniformity.


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                      vi.    Unwarranted      sentencing        disparities—similarly
                             situated defendants
        “A just legal system seeks not only to treat different cases differently but also to
treat like cases alike. Fairness requires sentencing uniformity as well as efforts to
recognize relevant sentencing differences.” Pepper, 131 S. Ct. at 1252 (Breyer, J.,
concurring in part and concurring in the judgment). The Career Offender guideline,
however, runs counter to this principle by potentially creating unwarranted sentencing
disparities among defendants who have been found guilty of the same criminal conduct.
For example, take the hypothetical case of two partners in a conspiracy to distribute 10
grams of pure methamphetamine, Dick and Jane. Based on the methamphetamine
quantity, the base offense level is 26. See U.S.S.G. § 2D1.1(c) (7). Each defendant
pleads guilty and qualifies for a three point reduction for acceptance of responsibility.
See U.S.S.G. §§ 3E1.1(a)-(b).      Each defendant has two prior convictions resulting in
four criminal history points.      However, one of the defendants, Jane, was twice
convicted of selling an ounce of marijuana, resulting in her being a Career Offender.
The following chart compares, without applying the Career Offender guideline, Dick
and Jane’s criminal histories, offense levels, and sentencing ranges.

 Defendant          Criminal          Offense           Sentencing
                    History           Level             Range
 Dick               III               23                57-71
 Jane               III               23                57-71


        Before applying the Career Offender guideline, both defendants have identical
criminal histories, offense levels, and sentencing ranges. As the following chart
demonstrates, application of the Career Offender guideline to Jane drastically changes
this picture.


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 Defendant         Criminal         Offense           Sentencing
                   History          Level             Range
 Dick              III              23                57-71
 Jane              VI               34                262-327


        Application of the Career Offender guideline doubles Jane’s criminal history,
increases her offense level by over 47%, and more than quadruples her sentencing
range. Operation of the Career Offender guideline in this hypothetical case results in
the ludicrous possibility of Jane receiving between triple and six-fold Dick’s sentence.
Such an outcome clearly demonstrates that the Career Offender guideline has the grave
potential of running counter to the goals of sentencing by its potential to create
unwarranted sentencing disparities among defendants who have been found guilty of the
same criminal conduct.
                     vii.   Promoting respect for the law
        When formulating the guidelines, the Sentencing Commission is to take into
account “the public concern generated by the offense” and the “community view of the
gravity of the offense.” 28 U.S.C. § 994(c)(5), (6). A sentencing court must also take
into account the need for the sentence imposed to reflect “just punishment” and to
“promote respect for the law.” 18 U.S.C. § 3553(a)(2)(A). The prosecution asserts
that application of the Career Offender guideline promotes this goal. I disagree.
        In a public opinion survey conducted on behalf of the Sentencing Commission in
1997, “there was little support for sentences consistent with most habitual offender
legislation. To be sure, longer previous criminal records led to longer sentences, but at
substantially smaller increments than under such initiatives as ‘three-strikes-and-you're
out.’” Press Release, U.S. Sentencing Comm’n, Public Opinion on Sentencing Federal
Crimes (March 17, 1997) (quoting executive summary prepared by Peter H. Rossi &

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Richard A. Berk), available at http://www.ussc.gov/Research/Research_Projects/
Surveys/19970314_Public_Opinion_on_Sentencing/JP_EXSUM.htm.               Application of
the Career Offender guideline results in many low-level, non-violent drug addicts
serving sentences grossly disproportionate to their role and culpability and hardly
promotes respect for the law. Quite the opposite, totally disproportionate, unduly harsh
sentences breed disrespect for the law. As the Supreme Court observed in Gall:
             a sentence of imprisonment may work to promote not
             respect, but derision, of the law if the law is viewed as
             merely a means to dispense harsh punishment without taking
             into account the real conduct and circumstances involved in
             sentencing.
Gall, 552 U.S. at 54 (quoting with approval the reasoning of the district court); see also
United States v. Deegan, 605 F.3d 625, 655 (8th Cir. 2010 (Bright, J., dissenting)
(observing that harsh federal punishment when compared to lenient state sentencing for
the same criminal activity “promotes disrespect for the law and the judicial system.”);
United States v. Ontiveros, 07–CR–333, 2008 WL 2937539, at *3 (E.D. Wis. July 24,
2008) (“[A] sentence that is disproportionately long in relation to the offense is unjust
and likewise fails to promote respect [for the law].”); Cf. United States v. Irey, 612
F.3d 1160, 1239 (11th Cir. 2010) (Hill, J., concurring) (noting that “[u]nwarranted
sentencing disparity breeds disrespect for the rule of law . . . .”); United States v.
Stern, 590 F. Supp. 2d 945, 957 (N.D. Ohio 2008) (“Respect for the law is promoted
by punishments that are fair, however, not those that simply punish for punishment's
sake.”). Thus, careful application of the § 3553(a) factors is imperative and pivotal in
providing just punishment promoting respect for the law.




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                 E.     Step 3- Application Of The § 3553(a) Factors
       1.    Overview of § 3553(a)
       The third step in the sentencing methodology requires that I apply the § 3553(a)
factors to determine whether to impose a guideline or non-guideline sentence. The
prosecution argues that application of the § 3553(a) factors does not warrant a
downward variance for Newhouse. I disagree. Section 3553(a) lists the following
factors:
             (1) the nature and circumstances of the offense and the
             history and characteristics of the defendant; (2) the need for
             the sentence imposed—(A) to reflect the seriousness of the
             offense, to promote respect for the law, and to provide just
             punishment for the offense; (B) to afford adequate
             deterrence to criminal conduct; (C) to protect the public
             from further crimes of the defendant; and (D) to provide the
             defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most
             effective manner; (3) the kinds of sentences available; (4)
             the kinds of sentence and the sentencing range established
             for—(A) the applicable category of offense committed by the
             applicable category of defendant as set forth in the
             guidelines . . . (5) any pertinent policy statement . . . issued
             by the Sentencing Commission . . .; (6) the need to avoid
             unwarranted sentence disparities among defendants with
             similar records who have been found guilty of similar
             conduct; and (7) the need to provide restitution to any
             victims of the offense.
18 U.S.C. § 3553(a)(1)-(7) (line breaks omitted).
       The Eighth Circuit Court of Appeals has held “[t]he district court has wide
latitude to weigh the § 3553(a) factors in each case and assign some factors greater
weight than others in determining an appropriate sentence.” United States v. Bridges,
569 F.3d 374, 379 (8th Cir. 2009); see United States v. Chaika, 695 F.3d 741, 746
(8th Cir. 2012). In considering the § 3553(a) factors, “[a] district court is not required

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to recite each of the sentencing factors under 18 U.S.C. § 3553(a), as long as the
record makes clear that they were considered.” United States v. Powills, 537 F.3d
947, 950 (8th Cir. 2008); see United States v. Gasaway, 684 F.3d 804, 807-08 (8th
Cir. 2012) (“‘The district court is presumed to know the law in regard to sentencing
and need not recite each factor to be upheld. When we review the § 3553(a) factors, we
will look to the entire record.’”) (quoting United States v. Keating, 579 F.3d 891, 893
(8th Cir. 2009) (internal citation omitted)). Nevertheless, I will expressly consider
each of the § 3553(a) factors in turn.
       2.     The nature and circumstances of the offense
       The first § 3553(a) factor requires me to consider the nature and circumstances
of the offense. 18 U.S.C. § 3553(a)(1). In her role as a pill smurfer, Newhouse was
involved in purchasing legal cold remedies containing pseudoephedrine for small meth
cooks. On the day of her arrest, March 12, 2011, the PSR indicates Newhouse was
observed with a co-defendant by Webster County Drug Task Force officers “purchasing
pseudoephedrine at Walgreens and Wal-Mart in Fort Dodge.” Newhouse then
proceeded to co-defendant Tracy Young’s house “to provide Tracy Young with the
pseudoephedrine they had just purchased, as well as lithium batteries and tree fertilizer
spikes in exchange for methamphetamine.” The PSR further provides: “Nearly two
hours later, the defendant and Silvey left Young’s house and proceeded to the
defendant’s residence where officers stopped and detained both the defendant and
Silvey. Officers confiscated a glass pipe, lithium batteries, and a small amount of
methamphetamine during their search of the defendant.”
       The PSR also indicates that: “As a part of their investigation, agents reviewed
pseudoephedrine purchase logs from several pharmacies in the Fort Dodge, Iowa, area.
These logs reflected that the defendant purchased 70.56 grams of pseudoephedrine
between May 2006 and March 2011.”

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      The PSR concludes with Newhouse’s Offense Conduct section: “Within her plea
agreement, the defendant stipulated to the following facts: She was involved with at
least 20 grams of methamphetamine actual and/or at least 40 grams of pseudoephedrine;
all of her pseudoephedrine purchases from about May 2009 through May 2011 went to
others for the manufacture of methamphetamine; and she received methamphetamine in
exchange for the pseudoephedrine.”
      In sum, the Offense Conduct section of her PSR clearly indicates that Newhouse
was a pill smurfer obtaining nonprescription cold remedies and swapping them for
home-made manufactured methamphetamine. There is not a shred of evidence
indicating that Newhouse's participation in this crime involved a scintilla of violence or
that her participation was for any other reason than to feed her long established
methamphetamine addiction. While pill smurfers like Newhouse are at the bottom of
the methamphetamine drug hierarchy, the guidelines do not treat them accordingly. In
every sense, Newhouse was low-hanging fruit in the government’s “War on Drugs.”
      3.     Newhouse’s history and characteristics
      The first § 3553(a) factor also requires that I consider “the history and
characteristics of the defendant.”      18 U.S.C. § 3553(a)(1).         The history and
characteristics gleaned from Newhouse’s PSR ring all too familiar to me and replicate a
pattern commonly seen among non-violent methamphetamine addicts in our district.27
Newhouse is 33 years old. Her parents divorced when she was two. She was raised by


      27
         According to Fiscal Year 2011 data from the U.S. Sentencing Commission,
methamphetamine is 18.1% of the drug type and drugs are 29.1% of the average
federal district court’s criminal docket. U.S. Sentencing Comm’n, Statistical
Information Packet: Fiscal Year 2011 Judge Mark W. Bennett 1 fig. A (2012). Being
in the methamphetamine heartland, my numbers are staggering. Methamphetamine
cases are 78.3% of my drug docket and drug cases represent 46.6% of my criminal
docket. Id.

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her father and a physically and emotionally abusive step-mother until she was 14.
According to Newhouse, both parents suffered from long-term substance abuse and her
mother from major mental illnesses, including Bipolar Disorder. Newhouse believes
her father “also has a history of mental health issues.”
      By age 14, Newhouse was running away from home and placed in a series of
group homes. Her only and older sister by three years has a record of prior drug
convictions and incarcerations due to her own substance abuse. Her current boyfriend
also has a history of substance abuse. She has three sons, ages 14, 8, and 5. The oldest
has lived with his father since a young age and her other two now reside with their
father due to her arrest on this charge. Newhouse has a close relationship with her
three sons.
      Newhouse has had previous mental health issues but is not currently taking any
medication. Newhouse started smoking marijuana at age 14 and, for several years prior
to her arrest, used it daily. She started using methamphetamine at age 15. At age 21,
she became a daily user. From 2005-2007 she was able to abstain from
methamphetamine use. But, when her then boyfriend and father of two of her children
was released from prison in 2007, she again became a daily user of methamphetamine
and continued up to her arrest in 2011. She has experimented with powder and crack
cocaine, acid, ecstasy, and heroin. Newhouse has been through drug treatment twice—
once in 1996 and again in 2005.
      Newhouse offered this candid self-reflection on her methamphetamine addiction:
              While active in my addiction I was constantly in conflict
              within myself, at war with myself. I had this powerful,
              desperate desire to get sober but I could never find the
              strength to do so. I put on an outside that looked put
              together and in control, while inside I was dying with guilt
              and shame.        I was empty, lonely, discouraged,
              overwhelmed, and scared. I used meth to try to escape

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               those feelings. Now I understand that using in fact fed those
               very feelings and made them even stronger. I strongly
               believe that meth is a tool that the devil uses because it can
               so easily trick people into thinking its making us feel good,
               while it’s actually destroying the very core of who we are.
               In all creation the only thing I’ll ever say I hate is
               methamphetamine. It has taken everything I love away from
               me and has left me alone, scared, and holding all the broken
               pieces of my life in my hands.
Newhouse Letter at 2-3, Defendant’s Ex. 1.          Her statement demonstrates both an
awareness of the consequences of her addiction and a willingness to free herself from
drugs.
         Newhouse dropped out of high school in her senior year in 1997 and reported
that “her drug use was a contributing factor to her decision to quit school.” Her
employment history has been sporadic and never more than for more than $12.00 per
hour often much less. The PSR estimates her cost of incarceration with the Bureau of
Prisons to be $28,893.40 per year—more than in a residential re-entry center (half-way
house).
         4.    The need for the sentence imposed
         The second § 3553(a) factor is “the need for the sentence imposed,”
§ 3553(a)(2), including the need for the sentence “to reflect the seriousness of the
offense, to promote respect for the law, and to provide just punishment for the
offense,” § 3553(a)(2)(A), “to afford adequate deterrence to criminal conduct,”
§ 3553(a)(2)(B), “to protect the public from further crimes of the defendant,”
§ 3553(a)(2)(C), and “to provide the defendant with needed educational or vocational
training” or other care or treatment, § 3553(a)(2)(D).
         This case reflects the flaw in the Career Offender guideline to overstate the
seriousness of a defendant’s record and the risk of her reoffending, as recognized by
the Sentencing Commission.       Newhouse’s Career Offender predicate offenses were
                                            51

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drug offenses, not crimes of violence. Both predicate offenses involved small amounts
of drugs. I find it particularly significant that each of her convictions arose from the
possession of two different drugs at the same time and place. For reasons not disclosed
in the record, instead of being charged in a single case with two counts of possessing a
controlled substance with the intent to deliver, one count for methamphetamine and
another for psilocybin mushrooms, Newhouse had the misfortune to be charged and
convicted in two separate cases.28 But for this charging anomaly, Newhouse would not
have two predicate drug convictions and would not qualify as a Career Offender.29 To


      28
        My educated guess is it took longer to get lab test results for the mushrooms—
so that the trial information for the psilocybin charge was filed after the trial
information for the methamphetamine charge.
      29
        Newhouse’s unfortunate circumstance arises from application of U.S.S.G.
§ 4A1.2(a)(2)’s definition of the term “prior sentence.” Section 4A1.2(a)(2) provides:

             If the defendant has multiple prior sentences, determine
             whether those sentences are counted separately or as a single
             sentence. Prior sentences always are counted separately if
             the sentences were imposed for offenses that were separated
             by an intervening arrest (i.e., the defendant is arrested for
             the first offense prior to committing the second offense). If
             there is no intervening arrest, prior sentences are counted
             separately unless (A) the sentences resulted from offenses
             contained in the same charging instrument; or (B) the
             sentences were imposed on the same day. Count any prior
             sentence covered by (A) or (B) as a single sentence.
U.S.S.G. § 4A1.2(a)(2). Thus, under § 4A1.2(a)(2), Newhouse’s two predicate
controlled substance convictions would have been counted as a single prior offense if
the two convictions had been contained in the same charging instrument or if she had
been sentenced on both charges on the same day. See United States v. Jones, 701 F.3d
327, 329 (8th Cir. 2012) (prosecution conceded that defendant did not qualify as a
Career Offender “because some of his previous convictions should have been counted
as a single offense since there was no intervening arrest and he was sentenced on the
                                          52

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their credit, the prosecution astutely acknowledges this fact and believes, that it alone,
warrants my granting Newhouse a substantial downward variance. I agree.
      Without a Career Offender designation, Newhouse would only be criminal
history category IV. It is also significant that her record contains no criminal activity
suggestive of violence. Yet, application of the Career Offender guideline enhances her
advisory guideline range from 70 to 87 months to a shockingly high range of 262 to
327 months.30 As Judge McConnell cogently pointed out in his concurrence in Pruitt:
             By comparison, a defendant who commits second degree
             murder, but has no criminal history, would have a
             sentencing range of 235 to 293 months. See U.S.S.G. §
             2A1.2(a). Moreover, it does not matter, for sentencing
             purposes, whether [the defendant’s] prior drug felonies were
             large-scale or petty, violent or nonviolent. Her sentencing
             range would be the same. One might reasonably ask whether
             a guideline that treats a defendant who has committed a
             series of relatively minor and nonviolent drug crimes more
             severely than a murderer, and that takes no account of the
             seriousness of the predicate crimes, always accounts for “the
             nature and circumstances of the offense and the history and
             characteristics of the defendant.” 18 U.S.C. §§ 3553(a)(1).




same day.”). Newhouse would not qualify as a Career Offender with a single controlled
substance conviction. See U.S.S.G. § 4B1.1(a) (defining a Career Offender as having,
inter alia, “at least two prior felony convictions of either a crime of violence or a
controlled substance offense.”).

      30
        As the amicus points out in its brief: “Because the government filed notice that
she has a prior drug felony conviction under 21 U.S.C. § 851, her statutory sentencing
range increased from 5-40 years, to 10-life. 21 U.S.C. § 841(b)(1)(B) and 851.
Therefore, her advisory Guideline range without the Career Offender enhancement
would be 120 months.” Amicus Br. at 3 n.1

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Pruitt, 502 F.3d at 1167 (McConnell, J. concurring).31
      An additional example of the irrationality of sentencing Newhouse to even the
low end of her Career Offender guideline range, 262 months, is to compare that
sentence to one of the most recent court of appeals’s decision involving, not the Career
Offender guideline, but, the even more feared sister recidivist enhancement, the
“Armed Career Criminal” guideline—§ 4B1.4,32 which carries a mandatory minimum
15 year sentence. Congress enacted the Armed Career Criminal Act (ACCA) in 1984
as “a new federal crime” created specifically to keep “the most dangerous, frequent and
hardened offenders” off the street.33 In Dawson v. United States, 702 F.3d 347 (6th
Cir. 2012), the trial court initially imposed a 262 month sentence for an armed
criminal, Dereck Dawson. Id. at 349.          “In 2003, Dawson was involved in an
altercation with his girlfriend Paula Smith and her son Victor Harris. Trial testimony
revealed that, during the altercation, Dawson hit Smith and pointed a gun at Harris,
threatening to kill them both.      Police responded to the scene and saw Dawson


      31
          Similarly, a defendant convicted of criminal sexual abuse or air piracy, with no
criminal history, would have a sentencing range of 235 to 293 months, see U.S.S.G.
§§ 2A3.1 and 2A5.1. A defendant convicted of kidnapping, or conspiracy or
solicitation to commit murder, with no criminal history, would have a sentencing range
half that faced by Newhouse as a result of the Career Offender guideline. See U.S.S.G.
§§ 2A1.5 (135 to 168 months for conspiracy or solicitation to murder); 2A4.1 (121-151
months for kidnapping).
      32
        An Armed Career Criminal is any person convicted under 18 U.S.C. 922(g)
and who has at least three prior convictions for a “violent felony” or “serious drug
offense” as defined in 18 U.S.C. § 924(e)(2), committed on occasions different from
one another.
      33
          S. Rep. No 97-585 at 5 (1982) The 15 year mandatory minimum was
calculated to “incapacitate the armed career criminal for the rest of the normal time
span of his career.” Id. at 7.

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discarding a firearm that turned out to be stolen.” Id. at 348-49. He “was indicted on
two federal firearms charges in connection with the incident. The first was possession
of a firearm by a felon, in violation of 18 U.S.C. § 922(g), and the second was
possession of a stolen firearm, in violation of 18 U.S.C. § 922(j).” Id. at 349.
Dawson’s prior record included two 1988 convictions for violent felonies – a conviction
for attempted burglary in the first degree and assault with intent to commit voluntary
manslaughter34; a 1993 conviction for attempted rape; and a 2001 aggravated burglary
conviction. Id. Dawson was convicted on both firearm charges and sentenced to 262
months. These were his fifth and sixth serious felony convictions – most involved
violence.   On his first appeal, the convictions were affirmed, but the 262 month
sentence was set aside because of the intervening decision in United States v. Booker,
543 U.S. 220 (2005). Id. The district court resentenced Dawson to the mandatory
minimum 180 month sentence, which was then affirmed.           Id. at 349, 353. What
possible rationale would support Dawson, a gun toting violent recidivist offender with
six prior felony convictions, receiving a more lenient sentence than Newhouse?
      Application of the Career Offender guideline substantially overstates the
seriousness of Newhouse’s criminal history. This is especially true since her criminal
history is made up entirely of relatively minor, non-violent, drug crimes fueled by her
long term and serious drug addiction.
       The imposition of a lengthy, Career Offender guideline sentence on Newhouse
will have a negligible impact deterring the drug trade. Newhouse is hardly the kind of
individual that Congress had in mind when it directed the Sentencing Commission to
promulgate the Career Offender guideline. Congress’s directive was clearly aimed at
“drug trafficking offense[s]” involving large amounts of drugs. See S. REP. NO. 98-225

      34
         Corrected Brief for Plaintiff-Appellee United States at *6, Dawson v. United
States, No. 11-5021, 2011 WL 6961760 (6th Cir. Dec. 13, 2011).
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(1983). Newhouse is not Iowa’s Pablo Escobar. She is not the kingpin of the Zeta
cartel. She is not remotely the repeat drug trafficker envisioned by Congress engaged
in an “extremely lucrative” enterprise.         Far from it, she was, as I previously
mentioned, a low-level pill smurfer.        As a low-level cog in methamphetamine
production, her role has undoubtedly already been filled by another pill smurfer. See
U.S. SENTENCING COMM’N, FIFTEEN YEARS OF GUIDELINES SENTENCING, AN
ASSESSMENT OF HOW WELL THE FEDERAL CRIMINAL JUSTICE SYSTEM IS ACHIEVING
THE GOALS OF SENTENCING REFORM 134 (2004) (observing that “[i]ncapacitating a

low-level drug seller prevents little, if any, drug selling; the crime is simply committed
by someone else.”). Applying the Career Offender guideline to Newhouse, a low-
level, non-violent drug addict, results in a sentence significantly greater than necessary
to achieve the sentencing goal of protecting the public from further crimes.
      A 120 month mandatory minimum sentence is either equal to or greater than the
sentences given to all of Newhouse’s co-defendants, even those far more culpable.
Sentencing Newhouse, a pill smurfer, to the significantly longer term of imprisonment,
as called for by application of the Career Offender guideline, would result in her
serving a sentence grossly disproportionate to her role and culpability, and would not
promote respect for the law.
      I further find that a 120 month mandatory minimum sentence of imprisonment is
sufficient in length to reflect the seriousness of the offense, promote respect for the
law, provide just punishment, protect the public, and reflect the factors embodied in §
3553(a)(2). I also find that a sentence within the Career Offender guideline range of
262 to 327 months is greater than necessary to achieve the purposes set forth in §
3553(a)(2).
      I note that there is a ten year gap between the crimes which qualify Newhouse as
a Career Offender and the criminal conduct here. She was only 22 years old when she

                                           56

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was convicted of the predicate offenses. These circumstances “undercut[ ] the need to
rely on those convictions to enhance [the] sentence.” Naylor, 359 F. Supp. 2d at 524
(declining to apply the Career Offender guideline where defendant was seventeen when
he committed crimes of breaking and entering). Moreover, if Newhouse is sentenced
to the mandatory minimum, she will be at least 41 years old when she is released. The
Sentencing Commission has found that recidivism rates decline relatively consistently as
age increases. See U.S. SENTENCING COMMISSION, MEASURING RECIDIVISM: THE
CRIMINAL HISTORY COMPUTATION OF THE FEDERAL SENTENCING GUIDELINES 12, ex.
9 (2004). I find that a 120 month mandatory minimum sentence is sufficiently lengthy
to protect the public from Newhouse’s future crimes.
      I also note the great disparity between the 120 month mandatory minimum
sentence and the sentences Newhouse previously received. See United States v. Qualls,
373 F. Supp. 2d 873, 877 (E.D. Wis. 2005) (“It is appropriate for a court, when
considering the type of sentence necessary to protect the public and deter future
misconduct, to note the length of any previous sentences imposed.”); see also Patzer,
548 F. Supp. 2d at 616-17 (considering the disparity between defendant’s guideline
sentence in current case and defendant’s prior sentences in determining length of
sentence required for deterrence and observing that “[c]ourts have noted that a large
disparity between the punishment prescribed by the career criminal designation and the
time served for prior offenses might indicate that the career criminal sentence is in
excess of that needed to accomplish the desired deterrent effect.”); United States v.
Colon, 2007 WL 4246470, *7 (D. Vt. 2007) (Judge William K. Sessions III, former
chair of the U.S. Sentencing Commission, granting downward departure, in part,
because “[t]he career offender designation in Colon’s case would result in an
unjustifiable and unnecessary lopsidedness between prior sentences and the present
sentence”). The longest period of imprisonment Newhouse has previously served is

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seven months on a two-year state sentence for possessing marijuana.35 A 120 month
mandatory minimum sentence is 17 times longer than Newhouse’s longest previous
sentence. This incredibly large disparity between a 120 month mandatory minimum
sentence and her prior sentences is more than sufficient to accomplish deterrence. A
sentence within the Career Offender guideline range, which more than doubles the 120
month mandatory minimum sentence, is grossly in excess of that needed to accomplish
deterrence and is totally unwarranted.
       Finally, during a lengthy sentence, Newhouse will have the opportunity to
undergo extensive drug treatment in the Residential Drug Abuse Program (RDAP) and
to take advantage of vocational training opportunities offered by the Bureau of Prisons.
The RDAP program is an intensive drug treatment program where inmates live in
separate housing and participate in half-day treatment and half-day school, work, or
vocational programs. Most inmates accepted into the RDAP spend nine months in the
program.         See    BUREAU      OF    PRISONS,      Substance    Abuse     Treatment,
http://bop.gov/inmate_programs/substance.jsp. “Research findings demonstrated that
RDAP participants are significantly less likely to recidivate and less likely to relapse to
drug use than non-participants. The studies also suggest that the Bureau's RDAPs make
a significant difference in the lives of inmates following their release from custody and
return to the community.” Id. I have recommended to the BOP that Newhouse serve
her time at the Federal Correctional Institution at Waseca, Minnesota, as it is the
closest female BOP facility to Iowa and has one of the best RDAP programs in the
country. Several years ago, I visited Waseca and spoke with 27 female inmates that I
had sentenced that were housed there and who were in the RDAP program. I talked


       Newhouse’s only other two convictions are also drug related, possessing drug
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paraphernalia, a smoking pipe, when she was 21, and possessing a controlled substance
when she was 22.
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extensively with the RDAP staff and sat in on RDAP programming with the women. I
was extremely impressed by the program and staff. See Mark W. Bennett, Hard Time:
Reflections on Visiting Federal Inmates, JUDICATURE, May-June 2011, at 304. It bears
repeating that Newhouse did not commit her crime out of greed or in order to support a
lavish life style, but to feed her chronic drug addiction.       Newhouse’s successful
completion of drug treatment combined with new vocational skills would increase her
employment possibilities upon release and substantially decrease the likelihood of her
recidivism.
      5.      The kinds of sentences available
      The third § 3553(a) factor is “the kinds of sentences available,” see 18 U.S.C. §
3553(a)(3), and the fourth is “the kinds of sentence and the sentencing range
established” for similar offenses.    18 U.S.C. § 3553(a)(4).       I have reviewed the
sentencing options discussed in the PSR, including custody, supervised release,
probation, fines, restitution, and denial of federal benefits. PSR at 14-15. In this case,
the kinds of sentences available are largely circumscribed by the 120 month mandatory
minimum sentence required by Newhouse’s prior felony drug offense conviction. See
21 U.S.C. §§ 841(b)(1)(B) & 851.
      6.      Any pertinent policy statement
      The fifth § 3553(a) factor is “any pertinent policy statement.” 18 U.S.C.
§ 3553(a)(5). The parties have not directed me to any pertinent policy statement, or
asked me to apply one. Thus, while I need not consider any policy statement, see Gall,
552 U.S. at 552 U.S. at 54; Rita, 551 U.S. at 344, I again note that the downward
“departure” encouraged by § 4A1.3(b), p.s., if the defendant’s criminal history
category “substantially over-represents the seriousness of the defendant’s criminal
history or the likelihood that the defendant will commit further crimes” is limited by §
4A1.3(b)(3)(A) to one criminal history category. I reject this policy statement because

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this limitation is inconsistent with the Sentencing Commission’s own research, see Part
II.D.2.b.ii. Its application, when applied to low-level, non-violent drug addicts, does
not sufficiently temper the Career Offender guideline’s potential to overstate the
seriousness of a defendant’s criminal history and the risk of his or her re-offending. Its
application in such cases also does not sufficiently ameliorate the Career Offender
guideline’s tendency to result in sentences significantly greater than necessary to protect
the public by deterring further crimes. Finally, this policy statement’s application in
such cases does not alleviate unduly harsh sentences that do not promote respect for the
law.
       7.     The need to avoid unwarranted sentencing disparities
       The sixth § 3553(a) factor is “the need to avoid unwarranted sentencing
disparities among defendants with similar records who have been found guilty of
similar conduct.” 18 U.S.C. § 3553(a)(6). In Beiermann, I noted that a concomitant
of this principle is the need to avoid unwarranted similarities among defendants who are
not similarly situated. See Beiermann, 599 F. Supp. 2d at 1115-16 (citing Gall, 552
U.S. at 55, which recognizes the “need to avoid unwarranted similarities among other
co-conspirators who were not similarly situated”).
       Here, the Sentencing Commission’s prophecy about the Career Offender
guideline’s potential for unwarranted sentencing uniformity comes to fruition. See U.S.
Sentencing Comm’n, Memorandum from Gary J. Peters to all United States Sentencing
Commissioners 13 (March 25, 1988), available at http://www.src-project.org/wp-
content/uploads/2009/08/ussc_report_careeroffender_19880325.pdf.           Newhouse      is
being treated precisely the same as any drug kingpin convicted of manufacturing 5
grams or more of pure methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and
841(b)(1)(B), who has the two predicate drug felonies to qualify as a Career Offender.
The Career Offender guideline does so without taking into account significant

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differences in the severity of predicate drug offenses. As a result, Newhouse, who has
two convictions for possessing small quantities of drugs with intent to distribute, for
which she was sentenced to probation, is treated identically to a defendant who heads a
drug network and has multiple convictions for trafficking large quantities of drugs and
possessing firearms to further distribution of narcotics.
       Newhouse’s case is also a prime example of the Career Offender guideline
creating unwarranted sentencing disparities among defendants who have been found
guilty of the same criminal conduct. The following chart compares, without applying
the Career Offender guideline to Newhouse, the criminal histories, offense levels,
sentencing ranges, and sentences received by the co-defendants in this case.

 Defendant         Criminal          Offense            Sentencing       Sentence
                   History           Level              Range            Received
 Rex Silvey        II                27                 78-97            36
 Martin Brobst     II                29                 97-121           60
 Patrick           I                 25                 57-71            Time served
 McGuire
 Sandra Young      III               29                 120-135          60
 Tracy Young       I                 33                 135-168          120
 Newhouse          IV                23                 70-87            XX

       Although Newhouse has the highest criminal history category, her offense level
is the lowest. Next to co-defendant McGuire, Newhouse has the lowest sentencing
range. A 120 month mandatory minimum sentence was imposed on Tracy Young who,
while only a criminal history category I, has an offense level much higher than
Newhouse.
       As the following chart demonstrates, application of the Career Offender
guideline to Newhouse dramatically alters this landscape.
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 Defendant          Criminal          Offense         Sentencing       Sentence
                    History           Level           Range            Received
 Rex Silvey         II                27              78-97            36
 Martin Brobst      II                29              97-121           60
 Patrick            I                 25              57-71            Time served
 McGuire
 Sandra Young       III               29              120-135          60
 Tracy Young        I                 33              135-168          120
 Newhouse           VI                34              262-327          XX

Application of the Career Offender guideline gives Newhouse the highest criminal
history, offense level, and sentencing range. Newhouse was not the leader of this
group, but a mere pill smurfer. Nonetheless, if Newhouse was sentenced at the bottom
of the advisory guideline range, 262 months, her sentence would nearly equal the
combined sentences given to all five of her co-defendants, 276 months.         Indeed,
operation of the Career Offender guideline here opens the completely absurd possibility
that Newhouse’s sentence could be greater than all five of her co-defendants combined!
Thus, notwithstanding the differences in criminal histories between Newhouse and her
co-defendants, applying the Career Offender guideline to Newhouse creates
unwarranted sentencing disparities among defendants who have engaged in the same
criminal conduct.        See United States v. Martin, 520 F.3d 87, 94 (1st Cir. 2008)
(“[D]istrict courts have discretion, in appropriate cases, to align co-defendants’
sentences somewhat in order to reflect comparable degrees of culpability—at least in
those cases where disparities are conspicuous and threaten to undermine confidence in
the criminal justice system.”).




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      The 120 month mandatory minimum sentence equals or is greater than the
sentences given Newhouse’s co-defendants, even those far more culpable than her.36 A
120 month mandatory minimum sentence comes closest to satisfying § 3553(a)(6)’s
mandate to avoid unwarranted sentencing disparities.        Sentencing Newhouse to the
longer sentence called for by the Career Offender guideline would run counter to
§ 3553(a)(6) and create a gross sentencing disparity.
      8.     The need to provide restitution
      The final § 3553(a) factor is “the need to provide restitution to any victims of the
offense.” 18 U.S.C. § 3553(a)(7). This factor does not apply.
      9.     Consideration of downward variance and sentence
      After considering the § 3553(a) factors, I grant Newhouse’s variance motion on
two alternative grounds:    first, my quasi-categorical policy disagreement with the
Career Offender guideline as applied to a low-level, non-violent drug addict; and


      36
        As Senior United States District Judge for the Northern District of Florida,
Roger Vinson recently commented:

             [T]he problem in these [minimum mandatory sentencing]
             cases is that the people who can offer the most help to the
             government are the most culpable, so they get reduced
             sentences while the small fry, the little workers who don’t
             have that information, get the mandatory sentences. The
             punishment is supposed to fit the crime, but when a
             legislative body says this is going to be the sentence no
             matter what other factors there are, that’s draconian in every
             sense of the word. Mandatory sentences breed injustice.
John Tierney, For Lesser Crimes, Rethinking Life Behind Bars, N.Y. TIMES, Dec. 12,
2012, at A1. In this case, two of Newhouse’s co-defendants were able to reduce their
sentences through cooperation agreements with the prosecution and two co-defendants
had their advisory guideline range reduced because they were safety valve eligible
pursuant to 18 U.S.C. § 3553(f) and U.S.S.G. § 5C1.2.
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second, based on my individualized assessment of the § 3553(a) factors. Each of these
grounds is discussed below.
                     i.     Quasi-categorical policy disagreement
       For the reasons stated above, I reject, on quasi-categorical policy grounds
U.S.S.G. §§ 4B1.1 and 4B1.2, at least where the defendant, like Newhouse, is a low-
level, non-violent drug addict. I find that imposition of a Career Offender guideline
sentence would yield an excessive and unjust sentence. Specifically, in this kind of
case, the Career Offender guideline has the potential to overstate the seriousness of a
defendant’s record and her risk of re-offending, to result in a sentence significantly
greater than necessary to protect the public by deterring further crimes of the
defendant, to result in unwarranted sentencing uniformity and unwarranted sentencing
disparities among defendants found guilty of similar conduct, to result in an unduly
harsh sentence which does not promote respect for the law, and to be inconsistent with
the obligation to apply all of the relevant § 3553(a) factors.37 Even if I were not inclined

       37
          I have limited my criticisms of the Career Offender guideline to those
applicable in this case. However, these are not its only failings. The Career Offender
guideline has had a disturbing, grossly disparate impact on African-Americans. See
U.S. SENTENCING COMM’N, FIFTEEN YEARS OF GUIDELINES SENTENCING, AN
ASSESSMENT OF HOW WELL THE FEDERAL CRIMINAL JUSTICE SYSTEM IS ACHIEVING
THE GOALS OF SENTENCING REFORM 134 (2004) (noting that African-Americans are
more likely to have prior drug convictions than similar white drug dealers because of
the ease of detecting drug offenses that take place in “open-air drug markets, which are
most often found in impoverished minority neighborhoods.”). In 2000, while African-
Americans made up 26% of the offenders sentenced under the guidelines, they
accounted for 58% of the offenders subjected to the incredibly harsh sentences dealt out
under the Career Offender guideline. Id. at 133. Another failing of the Career
Offender guideline lies in its overly broad definition of a “crime of violence” that
sweeps up a wide variety of offenses that do not involve the intentional use of force,
resulting in an expansion of the class of offenders far beyond what Congress intended
by 28 U.S.C. § 994(h). See generally Baron- Evans et. al, Deconstructing the Career
Offender Guideline, 2 CHARLOTTE L. REV. at 58-74.
                                            64

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to generally reject the Career Offender guideline on quasi-categorical policy grounds,
where a defendant is a low-level, non-violent drug addict, I find that application of the
Career Offender guideline yields an excessive sentence in this case after considering the
§ 3553(a) factors.
                     ii.    Variance and sentence
      After considering the § 3553(a) factors, I find that a sentence lower than the
Career Offender guideline range is warranted. Specifically, I find that a sentence of
120 months imprisonment, followed by a lengthy period of supervised release is
“sufficient but not greater than necessary” to achieve the purposes of sentencing. 18
U.S.C. § 3553(a). First, I have considered Newhouse’s history and characteristics in
arriving at this sentence. She has no history of violence. Newhouse is a long-term,
chronic drug addict whose entire criminal history is tied to her addiction. The height of
her involvement in the drug trade has been as a low-level pill smurfer. I find that
Newhouse’s history and characteristics warrant no more punishment than the 120
month mandatory minimum sentence.
      The 120 month mandatory minimum sentence is also sufficient to reflect the
seriousness of the offense. Without the application of the Career Offender guideline
and the statutory mandatory minimum, Newhouse’s guideline range would be 70 to 87
months, given her criminal history and offense conduct. The 120 month mandatory
minimum sentence fully takes into account the fact that the present offense is not
Newhouse’s first drug offense conviction. In contrast, the Career Offender guideline
range for Newhouse of 262 months (almost 22 years) to 327 months (roughly 27 and
one-quarter years) is longer than necessary to achieve the goals of sentencing.
      A 120 month mandatory minimum sentence does not create unwarranted
sentencing disparities. This sentence is as proportional as possible to other sentences
imposed on Newhouse’s co-defendants, particularly Tracy Young, who has a much

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higher offense level, but is only a criminal history category I. This sentence, while
below that called for by the Career Offender guideline, is still many times longer than
any of Newhouse’s previous terms of incarceration, and thus more than sufficient to
deter her.
      A sentence of 120 months is a substantial amount of time to spend in prison and
is sufficiently severe to promote respect for the law. This sentence is also sufficiently
lengthy to deter others—assuming lengthy sentences actually deter drug use or drug
selling—which is contrary to my experience.         In contrast to the Career Offender
guideline range, a sentence of this length will enhance the public's confidence in the
criminal justice system and not breed disrespect for it. This is especially true, here,
since Newhouse’s criminal history is made up entirely of relatively minor, non-violent,
drug crimes fueled by her long term and serious drug addiction. Indeed, I believe a
sentence less severe than the mandatory minimum 120 months would be sufficient here
to promote respect for the law and achieve the other purposes of sentencing under
§3553(a).


                 F.     The Prosecution’s Substantial Assistance Motions
      The prosecution has filed substantial assistance motions under 18 U.S.C.
§ 3553(e) and U.S.S.G. § 5K1.1. A § 3553(e) motion allows me to sentence below the
mandatory minimum.38 See United States v. Freemont, 513 F.3d 884, 888 (8th Cir.

      38
           Section 3553(e), provides that:

               Upon motion of the Government, the court shall have the
               authority to impose a sentence below a level established by
               statute as a minimum sentence so as to reflect a defendants
               substantial assistance in the investigation or prosecution of
               another person who has committed an offense. Such
               sentence shall be imposed in accordance with the guidelines
                                             66

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2008); United States v.Williams, 474 F.3d 1130, 1131 (8th Cir. 2007).               The
prosecution has recommended a 20% reduction in Newhouse’s sentence based on her
assistance. Based on my independent review of the § 5K1.1(a) factors, I agree with the
prosecution that a 20% reduction in Newhouse’s sentence is warranted and reduce her
sentence to 96 months.


                                III.   CONCLUSION
      Based on my quasi-categorical policy disagreements with the Career Offender
guideline, I reject it in this case where the defendant is a low-level, non-violent drug
addict engaged in the drug trade to obtain drugs to feed her addiction. Miscarriage of
justice usually brings to mind infamous cases of innocent individuals languishing in
prison for decades before exoneration, often by DNA. But as Judge John Gleeson
cogently observed, “the truth is that most of the time miscarriages of justice occur in
small doses, in cases involving guilty defendants. This makes them easier to overlook.
But when they are multiplied by the thousands of cases in which they occur, they have
a greater impact on our criminal justice system than the cases you read about in the
newspapers or hear about on 60 Minutes.” United States v. Vasquez, No. 09-CR-259
(JG), 2010 WL 1257359, at *1 (E.D.N.Y. Mar. 30, 2010).39 Imposition of the Career
Offender guideline to Newhouse would be a miscarriage of justice.



             and policy statements issued by the Sentencing Commission
             pursuant to section 994 of title 28, United States Code.
Title 18 U.S.C. § 3553(e).



      39
        Judge John Gleeson is a highly regarded federal district court judge, and
former chief of the Organized Crime and Racketeering section of the United States
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      Even if I did not reject the Career Offender guideline on quasi-categorical policy
grounds in this case, I find that application of the Career Offender guideline yields an
excessive sentence, when individualized consideration is given to the 18 U.S.C.
§ 3553(a) factors. After considering these factors, I vary downward from the advisory
Career Offender guideline sentencing range of 262 to 327 months to the mandatory
minimum of 120 months.        I further grant the prosecution’s motions for substantial
assistance, reduce Newhouse’s sentence by 20%, and impose a sentence of 96 months
imprisonment followed by 96 months of supervised release. A 96 month sentence is
still exceptionally long, “[e]xcept, perhaps, to judges numbed by frequent encounters
with the results of the Sentencing Guidelines. . . .”       Pruitt, 502 F.3d at 1167
(McConnell, J. concurring).
      IT IS SO ORDERED.
             DATED this 30th day of January, 2013.



                                         ______________________________________
                                               MARK W. BENNETT
                                               U.S. DISTRICT COURT JUDGE
                                               NORTHERN DISTRICT OF IOWA


Attorney’s Office in the Eastern District of New York. In Senator Daniel Patrick
Moynihan’s statement during Judge Gleeson’s August 25, 1994, confirmation hearing
he noted: “Mr. Gleeson is, in fact, the chief of the organized crime and racketeering
section of the U.S. attorney’s office in Brooklyn, and if I could just read from a New
York Times story about his nomination, it simply says, ‘A prosecutor who played a
central role in sending John Gotti, the notorious Mafia boss, to prison for life was
recommended yesterday for a Federal judgeship.’" Confirmation Hearings on Federal
Appointments: Hearing Before the S. Comm. on the Judiciary, 103rd Cong. 1031
(1994) (Statement of Senator Daniel Patrick Moynihan). Judge Gleeson’s extremely
important and insightful observations about miscarriages of justice—even for the
guilty—are even more weighty given his stellar prior record prosecuting notorious
organized crime defendants.
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